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                     United States District Court
                           EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION



 VIRGINIA INNOVATION SCIENCES,
 INC.
                                            Civil Action No. 4:18-cv-474
                                            Judge Mazzant
 v.

 AMAZON.COM, INC., et al



 INNOVATION SCIENCES, LLC

                                            Civil Action No. 4:18-cv-475
 v.                                         Judge Mazzant
 RESIDEO TECHNOLOGIES, INC.


 INNOVATION SCIENCES, INC.

                                            Civil Action No. 4:18-cv-476
 v.                                         Judge Mazzant
 HTC CORPORATION


 INNOVATION SCIENCES, INC.
                                            Civil Action No. 4:18-cv-477
                                            Judge Mazzant
 v.

 VECTOR SECURITY, INC.


        CLAIM CONSTRUCTION MEMORANDUM OPINION AND ORDER




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       Before the Court is Plaintiff Innovation Sciences, LLC’s (“Plaintiff’s” or “VIS’s” or

“Innovation’s”)1 Opening Claim Construction Brief (Dkt. #119),2 Defendants Amazon.com, Inc.,

Amazon Digital Services LLC, Amazon Web Services, Inc. (collectively, “Amazon”), HTC

Corporation (“HTC”), Resideo Technologies, Inc. (“Resideo”), and Vector Security, Inc.’s

(“Vector’s”) Responsive Claim Construction Brief (Dkt. #131 & Dkt. #145), Plaintiff’s Reply

Claim Construction Brief (Dkt. #144), Defendants’ Sur-Reply Construction Brief (Dkt. #147-1;

see Dkt. #166), Plaintiff’s Supplemental Claim Construction Brief (Dkt. #186), Defendant

Vector’s Supplemental Responsive Claim Construction Brief (Dkt. #197), Plaintiff’s Reply in

Support of its Supplemental Claim Construction Brief (Dkt. #205), and Defendants’ Notice of

Supplemental Authority Regarding Defendants’ Responsive Claim Construction Brief (Dkt.

#199). Also before the Court are the parties’ May 6, 2019 Joint Claim Construction Statement

Pursuant to P.R. 4-3 (Dkt. #111) and the parties’ August 19, 2019 Amended Joint Claim

Construction Chart Pursuant to P.R. 4-5(d) (Dkt. #200).

       The Court held a claim construction hearing on August 28, 2019, to determine the proper

construction of the disputed claim terms in United States Patents No. 9,723,443 (“the ’443

Patent”), 9,729,918 (“the ’918 Patent”), 9,912,983 (“the ’983 Patent”), and 9,942,798 (“the ’798

Patent”) (collectively, the “patents-in-suit”).

       The Court issues this Claim Construction Memorandum Opinion and Order and hereby

incorporates-by-reference the claim construction hearing and transcript as well as the




1
  The Court granted leave to substitute Plaintiff Innovation Sciences, LLC for Plaintiff Virginia
Innovation Sciences, Inc. (“VIS”). (See Dkt. #161 at pp. 6–8).
2
 References to docket numbers in the present Claim Construction Memorandum Opinion and
Order refer to Civil Action No. 4:18-CV-474 unless otherwise indicated.

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demonstrative slides presented by the parties during the hearing. For the following reasons, the

Court provides the constructions set forth below.




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                                          BACKGROUND

          Plaintiff alleges infringement of United States Patents No. 9,723,443, 9,729,918,

9,912,983, and 9,942,798.

          The ’443 Patent, titled “System and Method for Providing Locally Applicable Internet

Content with Secure Action Requests and Item Condition Alerts,” issued on August 1, 2017, and

bears an earliest priority date of August 12, 2005. The Abstract of the ’443 Patent states:

          Optimized delivery of locally applicable Internet content to users. A cache of
          locally applicable Internet content is maintained in a local content server, based
          upon a monitoring of locations of users requesting Internet content. Requests for
          Internet content are received from user equipment through a wireless network base
          station, and served from the local content server, which is logically proximate to
          the wireless network base station. The caching of locally applicable Internet
          content may be maintained on a layered basis. Secure action request receipt and
          corresponding performance, and item condition alerts are also described.

          The ’798 Patent, titled “Method and System for Efficient Communication,” issued on April

10, 2018, and bears an earliest priority date of August 12, 2005. The Abstract of the ’798 Patent

states:

          Methods and apparatus for efficiently directing communications are disclosed. On
          [sic] example entails receiving, from a mobile terminal, a communication directed
          to a cellular communication network, the communication being received in an
          alternative channel that differs from a channel of the cellular communication
          network. The communication is then converted for a relayed communication to the
          cellular communication network on behalf of the mobile terminal, the relayed
          communication being made through the cellular communication network.

          The ’918 Patent and the ’983 Patent resulted from continuations of the ’798 Patent.

Defendants submit that the ’798 Patent, the ’918 Patent, and the ’983 Patent share a common

specification. (Dkt. #132 at p. 3).

          Plaintiff submits: “All four patents are being asserted against the Amazon defendants, the

[’918, ’983, and ’798] patents are being asserted against defendant HTC, while only the first patent

(‘the ’983 patent’) is being asserted against defendants Vector Security and Resideo.” (Dkt. #119


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at p. 1). Defendants submit: “Plaintiff asserts the ’983 patent against all Defendants, the ’798 and

’918 patent against HTC and Amazon, and the ’443 patent only against Amazon.” (Dkt. #131 at

p. 3). “For ease of reference, Defendants cite to disclosures in the ’983 patent, which Plaintiff

asserts against all Defendants.” (Id. at p. 4).

       The ’443 Patent resulted from a continuation of United States Patent No. 9,369,844 (“the

’844 Patent”), and United States District Judge Liam O’Grady of the Eastern District of Virginia

construed disputed terms in the ’844 Patent in Virginia Innovation Sciences, Inc. v. Amazon.com,

Inc., No. 1:16-CV-861, 2017 WL 3599642 (E.D. Va. Aug. 18, 2017) (“VIS I” or “Amazon I”). On

appeal, the findings in VIS I were affirmed-in-part and vacated-in-part. Innovation Sciences, LLC

v. Amazon.com, Inc., No. 2018-1495, 2019 WL 2762976 (Fed. Cir. July 2, 2019) (“Innovation

Sciences”). Additional detail regarding litigation involving related patents in the Eastern District

of Virginia is set forth in the Court’s July 15, 2019 Memorandum Opinion and Order in the above-

captioned case. (See Dkt. #161 at pp. 45–48).

                                      LEGAL STANDARDS

       Claim construction is a matter of law. Markman v. Westview Instruments, Inc., 52 F.3d

967, 979 (Fed. Cir. 1995). The purpose of claim construction is to resolve the meanings and

technical scope of claim terms. U.S. Surgical Corp. v. Ethicon, Inc., 103 F.3d 1554, 1568 (Fed.

Cir. 1997). When the parties dispute the scope of a claim term, “it is the court’s duty to resolve

it.” O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1362 (Fed. Cir. 2008).

       “It is a ‘bedrock principle’ of patent law that ‘the claims of a patent define the invention to

which the patentee is entitled the right to exclude.’” Phillips v. AWH Corp., 415 F.3d 1303, 1312

(Fed. Cir. 2005) (quoting Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d

1111, 1115 (Fed. Cir. 2004)). The Court examines a patent’s intrinsic evidence to define the



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patented invention’s scope. Id. at 1313–14; Bell Atl. Network Servs., Inc. v. Covad Commc’ns

Group, Inc., 262 F.3d 1258, 1267 (Fed. Cir. 2001). Intrinsic evidence includes the claims, the rest

of the specification, and the prosecution history. Phillips, 415 F.3d at 1312–13; Bell Atl. Network

Servs., 262 F.3d at 1267. The Court gives claim terms their ordinary and customary meaning as

understood by one of ordinary skill in the art at the time of the invention. Phillips, 415 F.3d at

1312–13; Alloc, Inc. v. Int’l Trade Comm’n, 342 F.3d 1361, 1368 (Fed. Cir. 2003).

       Claim language guides the Court’s construction of claim terms. Phillips, 415 F.3d at 1314.

“[T]he context in which a term is used in the asserted claim can be highly instructive.” Id. Other

claims, asserted and unasserted, can provide additional instruction because “terms are normally

used consistently throughout the patent.” Id. Differences among claims, such as additional

limitations in dependent claims, can provide further guidance. Id.

       “[C]laims ‘must be read in view of the specification, of which they are a part.’” Id. at 1315

(quoting Markman, 52 F.3d at 979). “[T]he specification ‘is always highly relevant to the claim

construction analysis. Usually, it is dispositive; it is the single best guide to the meaning of a

disputed term.’” Id. (quoting Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir.

1996)); Teleflex. Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313, 1325 (Fed. Cir. 2002). In the

specification, a patentee may define his own terms, give a claim term a different meaning than it

would otherwise possess, or disclaim or disavow some claim scope. Phillips, 415 F.3d at 1316.

Although the Court generally presumes terms possess their ordinary meaning, this presumption

can be overcome by statements of clear disclaimer. See SciMed Life Sys., Inc. v. Advanced

Cardiovascular Sys., Inc., 242 F.3d 1337, 1343–44 (Fed. Cir. 2001). This presumption does not

arise when the patentee acts as his own lexicographer. See Irdeto Access, Inc. v. EchoStar Satellite

Corp., 383 F.3d 1295, 1301 (Fed. Cir. 2004).



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       The specification may also resolve ambiguous claim terms “where the ordinary and

accustomed meaning of the words used in the claims lack sufficient clarity to permit the scope of

the claim to be ascertained from the words alone.” Teleflex, 299 F.3d at 1325. For example, “[a]

claim interpretation that excludes a preferred embodiment from the scope of the claim ‘is rarely,

if ever, correct.’” Globetrotter Software, Inc. v. Elan Computer Group Inc., 362 F.3d 1367, 1381

(Fed. Cir. 2004) (quoting Vitronics, 90 F.3d at 1583). But, “[a]lthough the specification may aid

the court in interpreting the meaning of disputed language in the claims, particular embodiments

and examples appearing in the specification will not generally be read into the claims.” Constant

v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571 (Fed. Cir. 1988); accord Phillips, 415 F.3d

at 1323.

       The prosecution history is another tool to supply the proper context for claim construction

because a patentee may define a term during prosecution of the patent. Home Diagnostics Inc. v.

LifeScan, Inc., 381 F.3d 1352, 1356 (Fed. Cir. 2004) (“As in the case of the specification, a patent

applicant may define a term in prosecuting a patent.”).          The well-established doctrine of

prosecution disclaimer “preclud[es] patentees from recapturing through claim interpretation

specific meanings disclaimed during prosecution.” Omega Eng’g Inc. v. Raytek Corp., 334 F.3d

1314, 1323 (Fed. Cir. 2003). “Indeed, by distinguishing the claimed invention over the prior art,

an applicant is indicating what the claims do not cover.” Spectrum Int’l v. Sterilite Corp., 164 F.3d

1372, 1378–79 (Fed. Cir. 1988) (quotation omitted). “As a basic principle of claim interpretation,

prosecution disclaimer promotes the public notice function of the intrinsic evidence and protects

the public’s reliance on definitive statements made during prosecution.” Omega Eng’g, 334 F.3d

at 1324. However, the prosecution history must show that the patentee clearly and unambiguously

disclaimed or disavowed the proposed interpretation during prosecution to obtain claim allowance.



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Middleton Inc. v. 3M Co., 311 F.3d 1384, 1388 (Fed. Cir. 2002). Statements will constitute

disclaimer of scope only if they are “clear and unmistakable statements of disavowal.” See Cordis

Corp. v. Medtronic AVE, Inc., 339 F.3d 1352, 1358 (Fed. Cir. 2003). An “ambiguous disavowal”

will not suffice. Schindler Elevator Corp. v. Otis Elevator Co., 593 F.3d 1275, 1285 (Fed. Cir.

2010) (citation omitted).

       Although “less significant than the intrinsic record in determining the legally operative

meaning of claim language,” the Court may rely on extrinsic evidence to “shed useful light on the

relevant art.” Phillips, 415 F.3d at 1317 (quotation omitted). Technical dictionaries and treatises

may help the Court understand the underlying technology and the manner in which one skilled in

the art might use claim terms, but such sources may also provide overly broad definitions or may

not be indicative of how terms are used in the patent. Id. at 1318. Similarly, expert testimony may

aid the Court in determining the particular meaning of a term in the pertinent field, but “conclusory,

unsupported assertions by experts as to the definition of a claim term are not useful.” Id.

Generally, extrinsic evidence is “less reliable than the patent and its prosecution history in

determining how to read claim terms.” Id.

       The Supreme Court of the United States has “read [35 U.S.C.] § 112, ¶ 2 to require that a

patent’s claims, viewed in light of the specification and prosecution history, inform those skilled

in the art about the scope of the invention with reasonable certainty.” Nautilus, Inc. v. Biosig

Instruments, Inc., 134 S. Ct. 2120, 2129 (2014). “A determination of claim indefiniteness is a

legal conclusion that is drawn from the court’s performance of its duty as the construer of patent

claims.” Datamize, LLC v. Plumtree Software, Inc., 417 F.3d 1342, 1347 (Fed. Cir. 2005)

(citations and internal quotation marks omitted), abrogated on other grounds by Nautilus, 134




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 S. Ct. 2120. “Indefiniteness must be proven by clear and convincing evidence.” Sonix Tech. Co.

 v. Publ’ns Int’l, Ltd., 844 F.3d 1370, 1377 (Fed. Cir. 2017).

                                            ANALYSIS

                                        Agreed Claim Terms

        In their May 6, 2019 Joint Claim Construction Statement Pursuant to P.R. 4-3, the parties

 submit that “[t]he parties have not agreed to any constructions,” but “the parties have met and

 conferred as required by P.R. 4-2(c) and have reduced the number of terms for which they seek

 construction in an effort to streamline the claim construction proceedings.” (Dkt. #111 at p. 2).

                                       Disputed Claim Terms

    A. “wireless HUB system,” “wireless hub,” “centralized HUB system,” and “centralized
    hub system”


                                      “wireless HUB system”

  Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

  “one or more devices capable of wireless Indefinite and lack of written description under
  communication for communicating with user 35 U.S.C. § 112
  devices, sensors, or appliances”


                                          “wireless hub”

  Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

  “a device capable of wireless communication Indefinite and lack of written description under
  for communicating with user devices, sensors, 35 U.S.C. § 112
  or appliances”




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                                      “centralized HUB system”
                                      “centralized hub system”

  Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

  “one or more devices at a central location Indefinite and lack of written description under
  capable of wireless communication for 35 U.S.C. § 112
  communicating with user devices, sensors, or
  appliances”


 (Dkt. #111, Ex. 1, at pp. 2–3; Dkt. #119, Ex. 5 at pp. 2–3). Defendants submit that the term

 “centralized hub system” appears in Claims 1, 2, and 81 of the ’798 Patent, the term “centralized

 HUB system” appears in Claim 139 of the ’983 Patent, the term “wireless HUB system” appears

 in Claims 22, 24, 62, and 117 of the ’983 Patent, and the term “wireless hub” appears in Claims

 116, 128, and 135 of the ’918 Patent. (Dkt. #131 at p. 15; see Dkt. #111, Ex. 1 at pp. 2–3). Larger

 “hub” and “system” terms presented by the parties are addressed in Sections A-1, A-2, and A-3,

 below.

          1. The Parties’ Positions

          Plaintiff argues that “the term ‘hub’ refers to a well-known class of devices.” (Dkt. #119

 at p. 12).

          Defendants respond that “[w]hile the terms ‘wireless,’ ‘centralized,’ and ‘hub’ may

 individually have some meaning to one of ordinary skill in the art, the combination of those terms

 does not connote a structure and certainly not one sufficient to perform all the various functions

 claimed.” (Dkt. #131 at p. 16). Defendants also argue that “while the generic computing term

 ‘hub’ may have some meaning in the art, the terms ‘wireless HUB’ and ‘centralized HUB’ (with

 ‘HUB’ in all caps) are coined terms unique to the asserted patents.” (Id. at pp. 16–17). Further,

 Defendants argue: “[T]he patent claims the result of converting any received signal in any format


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 from any network existing or to be developed and extracting from it information content of any

 type encoded in any manner, thus claiming far more than the patentees invented. Section 112, ¶ 6

 exists precisely to provide limits on such vacuous and functional claims. See, e.g., Halliburton

 Energy Servs., Inc.[ v. M-I LLC], 514 F.3d [1244,] 1255 [(Fed. Cir. 2008)].” (Dkt. #131 at p. 18).

        Plaintiff replies that “[b]ecause Defendants did not raise the issue of definiteness apart from

 the means-plus-function analysis, Defendants have waived their original contention that these

 terms were indefinite.” (Dkt. #144 at p. 19).

        In sur-reply, Defendants argue that, to avoid means-plus-function treatment under 35

 U.S.C. § 112, ¶ 6, a claim must “recite not just generic structure but structure for performing the

 recited function entirely.” (Dkt. #147-1 at p. 2).

        2. Analysis

        Claims 22 and 139 of the ’983 Patent, for example, recite (emphasis added):

        22. A wireless HUB system for managing information communications
        comprising:
               an input interface configured to receive a wireless signal through a wireless
        communication network;
               a decoder; and
               a network interface configured to provide a communication through a
        network communication channel,
               wherein the wireless HUB system is configured to perform a conversion of
        the wireless signal to accommodate production of a corresponding information
        content, the wireless signal comprising a compressed signal, the conversion
        comprising decompressing the compressed signal;
               wherein the decoder is configured to decompress the compressed signal;
               wherein the wireless HUB system is further configured to communicate,
        through the network communication channel, information for managing an item
        status of an item in connection with a short range wireless communication
        regarding an updated status of the item; and
               wherein the network communication channel is separate from a wireless
        channel for the short range wireless communication.

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        139. A centralized HUB system for managing information communications for a
        high definition digital display comprising:
                a transceiver;
                a decoder;
                an encoder; and
                a high definition digital output interface, wherein the transceiver is
        configured to communicate a data package comprising an identifier corresponding
        to a communication of an information content for production on the high definition
        digital display;
                wherein the centralized HUB system is configured to perform a conversion
        of a multimedia signal corresponding to the information content to accommodate
        the production of the information content on the high definition digital display, the
        multimedia signal comprising a compressed signal;
                wherein the compressed signal is a compressed high definition digital video
        signal;
                wherein the decoder is configured to decompress the compressed signal to
        a decompressed signal;
                wherein the encoder is configured to encode the decompressed signal to an
        encoded signal, the encoded signal comprising an encoded decompressed high
        definition digital video signal; and
                wherein the high definition digital output interface is configured to transmit
        the encoded signal to accommodate the production of the information content on
        the high definition digital display; and
                wherein the conversion of the multimedia signal comprises decompressing
        by the decoder, the compressed signal to the decompressed signal, further followed
        by encoding, by the encoder, the decompressed signal produced by the decoder to
        produce the encoded signal for transmission through the high definition digital
        output interface.

        Title 35 U.S.C. § 112(f) (formerly § 112, ¶ 6) provides: “An element in a claim for a

 combination may be expressed as a means or step for performing a specified function without the

 recital of structure, material, or acts in support thereof, and such claim shall be construed to cover

 the corresponding structure, material, or acts described in the specification and equivalents

 thereof.” “In exchange for using this form of claiming, the patent specification must disclose with

 sufficient particularity the corresponding structure for performing the claimed function and clearly

 link that structure to the function.” Triton Tech of Tex., LLC v. Nintendo of Am., Inc., 753 F.3d

 1375, 1378 (Fed. Cir. 2014).




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        “[T]he failure to use the word ‘means’ . . . creates a rebuttable presumption . . . that § 112,

 para. 6 does not apply.” Williamson v. Citrix Online LLC, 792 F.3d 1339, 1348 (Fed. Cir. 2015)

 (citations and internal quotation marks omitted). “When a claim term lacks the word ‘means,’ the

 presumption can be overcome and § 112, para. 6 will apply if the challenger demonstrates that the

 claim term fails to recite sufficiently definite structure or else recites function without reciting

 sufficient structure for performing that function.” Id. at 1349 (citations and internal quotation

 marks omitted).

        Williamson, in an en banc portion of the decision, abrogated prior statements that the

 absence of the word “means” gives rise to a “strong” presumption against means-plus-function

 treatment. Id. (citation omitted). Williamson also abrogated prior statements that this presumption

 “is not readily overcome” and that this presumption cannot be overcome “without a showing that

 the limitation essentially is devoid of anything that can be construed as structure.” Id. (citations

 omitted). Instead, Williamson found, “[h]enceforth, we will apply the presumption as we have

 done prior to Lighting World . . . .” Id. (citing Lighting World, Inc. v. Birchwood Lighting, Inc.,

 382 F.3d 1354, 1358 (Fed. Cir. 2004)). In a subsequent part of the decision not considered en

 banc, Williamson affirmed the district court’s finding that the term “distributed learning control

 module” was a means-plus-function term that was indefinite because of lack of corresponding

 structure, and in doing so Williamson stated that “‘module’ is a well-known nonce word.” 792

 F.3d at 1350.

        Here, Defendants have not shown that “hub” is a “nonce” term under Williamson, and

 Defendants submit no persuasive evidence that the term “hub” fails to connote structure in the

 relevant art. See 792 F.3d at 1350. Nothing in the specification suggests that “hub” lacks structure.

 See ’983 Patent at 14:66–15:8 (“the WHUB 804 [(wireless HUB)] may keep a database of



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 household requirements and inventories”); see also id. at 24:18–28 (“centralized HUB system”) &

 25:17–24.

         Plaintiff submits a technical dictionary definition of “hub,” thereby demonstrating that the

 term “hub” refers to a known class of structures in the art of computer networking. (See Dkt. #119,

 Ex. 6, Microsoft Computer Dictionary 260 (5th ed. 2002) (“In a network, a device joining

 communication lines at a central location, providing a common connection to all devices on the

 network. The term is an analogy to the hub of a wheel.”). The opinions of Defendants’ expert are

 not to the contrary. For example, Defendants’ expert opines:

         This term, although made up of certain words that alone have a meaning to those
         of skill in the art, does not have a computer science meaning as recited in the claims
         of the ’983 patent. In particular, although a “hub” is, in general, a term familiar
         to those of skill in computer networking, such a hub is not known to perform the
         function recited in this claim term; and it is also apparent from the specification’s
         consistent use of “HUB” in all capital letters that some other (undefined) meaning
         of “HUB” was intended here.

 (Dkt. #119, Ex. 13, May 6, 2019 Johnson Decl. at ¶ 43) (emphasis added).

         Defendants fail to support their contention that the known structure must be known to

 function in the specific manner set forth in the claims. See Apex Inc. v. Raritan Computer, Inc.,

 325 F.3d 1364, 1373 (Fed. Cir. 2003) (finding that “circuit” connoted structure); see also Chrimar

 Holding Co., LLC v. ALE USA Inc., 732 F. App’x 876, 884–85 (Fed. Cir. June 1, 2018) (as to

 “central piece of equipment,” “Ethernet terminal equipment,” “BaseT Ethernet terminal

 equipment,” and “end device,” stating that “[a] claim term that has an understood meaning in the

 art as reciting structure is not a nonce word triggering § 112, ¶ 6”); Skky, Inc. v. MindGeek, s.a.r.l.,

 859 F.3d 1014, 1119 (Fed. Cir. 2017) (finding “wireless device means” to not be a means-plus-

 function term, noting that “it is sufficient if the claim term is used in common parlance or by

 persons of skill in the pertinent art to designate structure, even if the term covers a broad class of



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 structures and even if the term identifies the structures by their function”) (quoting TecSec, Inc. v.

 Int’l Bus. Machs. Corp., 731 F.3d 1336, 1347 (Fed. Cir. 2013)); Zeroclick, LLC v. Apple Inc., 891

 F.3d 1003, 1008 (Fed. Cir. 2018) (finding that “user interface code” and “program” were not nonce

 words; noting that “the mere fact that the disputed limitations incorporate functional language does

 not automatically convert the words into means for performing such functions”).

        This finding is consistent with principles articulated by the Federal Circuit prior to the

 abrogated Lighting World decision. See Greenberg v. Ethicon Endo-Surgery, Inc., 91 F.3d 1580,

 1583 (Fed. Cir. 1996) (finding that “detent mechanism” was not a means-plus-function term

 because “‘detent’ denotes a type of device with a generally understood meaning in the mechanical

 arts, even though the definitions are expressed in functional terms”; “It is true that the term ‘detent’

 does not call to mind a single well-defined structure, but the same could be said of other

 commonplace structural terms such as ‘clamp’ or ‘container.’ What is important is not simply that

 a ‘detent’ or ‘detent mechanism’ is defined in terms of what it does, but that the term, as the name

 for structure, has a reasonably well understood meaning in the art.”).

        Defendants’ argument resembles an argument as to whether the patents disclose sufficient

 corresponding structure, but this is a distinct inquiry that arises only if 35 U.S.C. § 112, ¶ 6 is

 found to apply.      Defendants’ Notice of Supplemental Authority Regarding Defendants’

 Responsive Claim Construction Brief (Dkt. #199) cites MTD Products Inc. v. Iancu, No. 2017-

 2292, --- F.3d ----, 2019 WL 3770828 (Fed. Cir. Aug. 12, 2019). In MTD, the Federal Circuit

 found “mechanical control assembly . . . configured to . . .” to be “similar to other generic, black-

 box words that this court has held to be nonce terms similar to ‘means’ and subject to § 112, ¶ 6,”

 and the court vacated a finding that 35 U.S.C. § 112, ¶ 6 did not apply. Id., at *5. In the present

 case, by contrast, Defendants’ expert acknowledges that a “hub” is a known structure. (Dkt. #119,



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 Ex. 13, May 6, 2019 Johnson Decl. at ¶ 43) (quoted above). Moreover, the analysis in MTD further

 undercuts Defendants’ argument that the structure must be known to function in the specific

 manner claimed:

        Interpretation of an asserted means-plus-function limitation involves two steps.
        First, we determine if the claim limitation is drafted in means-plus-function format.
        As part of this step, we consider whether the claim limitation connotes “sufficiently
        definite structure” to a person of ordinary skill in the art. If we conclude that the
        limitation is in means-plus-function format, the second step requires us to review
        the specification to identify the structure that performs the claimed function(s) and
        thus “corresponds to” the claimed means. While related, these two inquiries are
        distinct.

 MTD, 2019 WL 3770828, at *6 (emphasis added).

        At the August 28, 2019 hearing, Defendants emphasized the statement in MTD that “[i]n

 assessing whether the claim limitation is in means-plus-function format, we do not merely consider

 the introductory phrase (e.g., ‘mechanical control assembly’) in isolation, but look to the entire

 passage including functions performed by the introductory phrase.” Id., at *4. Immediately

 following this sentence, MTD cited Apex generally (without a pin cite). 325 F.3d 1364. At the

 August 28, 2019 hearing, Defendants cited the statement in Apex that: “The threshold issue for all

 the limitations involving the term ‘circuit’ is whether the term itself connotes sufficient structure

 to one of ordinary skill in the art to perform the functions identified by each limitation.” Id. at

 1373. Ironically, Apex held that “first interface circuit” and “second interface circuit” were not

 means-plus-function terms, finding that “it is clear that the term ‘circuit,’ by itself connotes some

 structure” and, as to “interface circuit,” “the ordinary meaning of this term connotes specific

 structures to one of ordinary skill in the art.” Id. at 1373–74; see id. at 1375 (noting that, on

 remand, challenger must “prove by a preponderance of the evidence that the limitations, as a

 whole, do not connote sufficiently definite structure to one of ordinary skill in the art”). Again, in

 the present case, Defendants fail to show that the “hub” structures known in the art must be known

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 as performing all of the specific functions set forth in the claims at issue. MTD, Apex, and other

 similar authorities cited by Defendants do not compel otherwise.

        Further, Defendants have not shown that instances of capitalization of “HUB” demonstrate

 that the inventor coined a new term. See, e.g., CCS Fitness, Inc. v. Brunswick Corp., 288 F.3d

 1359, 1366 (Fed. Cir. 2002) (“the claim term will not receive its ordinary meaning if the patentee

 acted as his own lexicographer and clearly set forth a definition of the disputed claim term in either

 the specification or prosecution history”) (emphasis added).

        The term “hub” is not analogous to the term “cheque standby unit” that failed to connote

 sufficiently definite structure in Diebold Nixdorf, Inc. v. International Trade Commission, 899

 F.3d 1291, 1298 (Fed. Cir. 2018), cited by Defendants. In particular, Diebold found that “the

 claims do not recite any structure, much less ‘sufficiently definite structure,’ for the ‘cheque

 standby unit.’” Id. In the present case, by contrast, Defendants’ expert acknowledges that a “hub”

 is a known structure. (Dkt. #119, Ex. 13, May 6, 2019 Johnson Decl. at ¶ 43) (quoted above).

 Defendants’ reliance on Advanced Ground Information Systems, Inc. v. Life360, Inc. is similarly

 unavailing.   830 F.3d 1341, 1348 (Fed. Cir. 2016) (as to “symbol generator,” stating that

 “[i]rrespective of whether the terms ‘symbol’ and ‘generator’ are terms of art in computer science,

 the combination of the terms as used in the context of the relevant claim language suggests that it

 is simply an abstraction that describes the function being performed (i.e., the generation of

 symbols)”).

        Defendants’ reliance on the Danco case is also unpersuasive.              See Danco Inc. v.

 Fluidmaster, Inc., No. 5:16-CV-73, 2017 WL 4225217, at *7 (E.D. Tex. Sept. 22, 2017). In

 particular, Defendants cite Danco as purported support for Defendants’ argument that “even if

 these terms did connote some generic structure, they do not connote sufficient structure to ‘perform



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 entirely’ the recited functions, which they must to avoid the requirements of § 112, ¶ 6.” (Dkt.

 #131 at p. 17). Yet, Danco quoted the “perform entirely” language from authority regarding when

 a term that expressly uses the word “means” is not governed by 35 U.S.C. § 112, ¶ 6. See

 Personalized Media Commc’ns, LLC v. Int’l Trade Comm’n, 161 F.3d 696, 704 (Fed. Cir. 1998)

 (“‘[W]here a claim recites a function, but then goes on to elaborate sufficient structure, material,

 or acts within the claim itself to perform entirely the recited function, the claim is not in means-

 plus-function format’ even if the claim uses the term ‘means.’”) (quoting Sage Prods. v. Devon

 Indus., Inc., 126 F.3d 1420, 1427–28 (Fed. Cir. 1997)). Danco is therefore not analogous to the

 present case, in which the terms at issue do not use the word “means.”

        The Court concludes that Defendants fail to rebut the presumption against means-plus-

 function treatment.   Defendants present no alternative proposed constructions.          No further

 construction is necessary.

        Defendants have also presented an indefiniteness argument under Nautilus:

        Moreover, because the patents define these terms solely by reference to their
        function, but provide no limiting solution for performing the claimed functions,
        they are also indefinite under § 112, ¶ 2. Nautilus, Inc. v. Biosig Instruments, Inc.,
        572 U.S. 898, 910 (2014) (claims that do not “inform those skilled in the art about
        the scope of the invention with reasonable certainty” are indefinite under § 112);
        (Johnson Decl. ¶ 617).

 (Dkt. #131 at p. 22). Defendants have not adequately supported their argument or otherwise

 persuasively shown that the claim terms at issue lack reasonable certainty under Nautilus. (See

 id.; see also Dkt. #119, Ex. 13, May 6, 2019 Johnson Decl. at ¶ 617).

        The Court therefore hereby construes “wireless HUB system,” “wireless hub,”

 “centralized HUB system,” and “centralized hub system” to have their plain meaning.




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     A-1. Additional “hub” Terms

        Additional “hub” terms identified by the parties are subject to the same analysis as set forth

 above regarding the terms “wireless HUB system,” “wireless hub,” “centralized HUB system,”

 and “centralized hub system.” These terms include (see Dkt. #119 at pp. 21–22 & 39–40; see also

 Dkt. #200, Ex. E at pp. 2–9; id., Ex. F at pp. 1–5; id., Ex. G at pp. 1–2)3:

        D55. “wherein the wireless hub is configured to send a data package to the
        management center system through a wireless communication network based on
        the request for the particular information content, the data package including
        information for the unique hub identifier” (’918 Patent, Claims 33, 116, 128, 135);

        D81. “wherein the wireless hub is configured to receive the particular information
        content through the wireless communication network in connection with
        identification of the wireless hub” (’918 Patent, Claims 116, 128, 135);

        D82. “wherein the wireless hub is configured to perform a conversion of a
        corresponding signal of the particular information content to accommodate
        production of the particular information content” (’918 Patent, Claims 33, 116, 128,
        135);

        D84. “wherein the wireless hub is configured to receive the particular information
        content through the wireless communication network in connection with
        identification, by the management center system, of the wireless hub” (’918 Patent,
        Claim 33);

        D86. “centralized hub system configured to: receive, through a wireless
        communication network, an information content requested by a user in connection
        with identification of the centralized hub system based on recognition of the unique
        hub identifier, the information content carried by a compressed digital video signal”
        (’798 Patent, Claim 1);

        D87. “wherein the centralized hub system is further configured to communicate the
        information through the WLAN for said managing the household item status” (’798
        Patent, Claim 2);

        D20. “wherein the wireless HUB system is configured to perform a conversion of
        the wireless signal to accommodate production of a corresponding information
        content” (’983 Patent, Claims 22, 62);

 3
   The alphanumeric labels preceding each term refer to such labels that appear in Plaintiff’s list of
 Agreed and Disputed Constructions attached to its Opening Claim Construction Brief. (Dkt. #119
 at Ex. 5).

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        D21. “wherein the wireless HUB system is further configured to communicate,
        through the network communication channel, information for managing an item
        status of an item in connection with a short range wireless communication
        regarding an updated status of the item” (’983 Patent, Claim 22);

        D25. “wherein the wireless HUB system is configured to notify a user about the
        updated status according to a configuration setting” (’983 Patent, Claim 24);

        D42. “wherein the wireless HUB system is configured to receive a signal from the
        item status sensing device” (’983 Patent, Claim 117);

        D43. “wherein the wireless HUB system is further configured to identify the item
        in connection with recognition of the information corresponding to the unique
        identifier” (’983 Patent, Claim 117);

        D44. “wherein the wireless HUB system is further configured to communicate,
        through the network communication channel, information about the updated status
        to a user device associated with the item” (’983 Patent, Claim 117);

        D45. “wherein the wireless HUB system is configured to notify a user of the
        updated status according to a configuration setting” (’983 Patent, Claim 117); and

        D50. “wherein the centralized HUB system is configured to perform a conversion
        of a multimedia signal corresponding to the information content to accommodate
        the production of the information content on the high definition digital display, the
        multimedia signal comprising a compressed signal” (’983 Patent, Claim 139).4

 The Court therefore likewise hereby construes these terms to have their plain meaning.

     A-2. Related “system” Terms

        Certain “system” terms identified by the parties refer back to terms such as “wireless HUB

 system,” “centralized HUB system,” and “centralized hub system” and are subject to the same


 4
   The parties’ August 9, 2019 Joint Claim Construction Chart Pursuant to P.R. 4-5(d) also includes
 the following terms in Claim 81 of the ’798 Patent: “wherein the centralized hub system is further
 configured to transmit the encoded decompressed digital video signal to the high definition digital
 television through a predetermined communication channel in conjunction with a navigational
 command for the predetermined communication channel, the predetermined communication
 channel being the high definition digital output interface connected to the cable”; and “wherein
 the centralized hub system is further configured to communicate information for managing an item
 status of an item based on a signal regarding an update [sic, updated] status of the item, the signal
 being triggered by a detection of the updated status.” (Dkt. #200, Ex. G at pp. 4–6).

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 analysis as set forth above. These terms include (see Dkt. #119 at pp. 45–46; see also Dkt. #200,

 Ex. F at pp. 16–17) (emphasis added):

        D56. “wherein, in connection with recognition, by the system, of information for
        the unique identifier for the household item associated with the short range wireless
        communication, the system is configured to update the household item status
        information for the household item corresponding to the updated status of the
        household item” (’918 Patent, Claim 33); and

        D66. “wherein the system further comprises a signal conversion unit configured to
        receive the multimedia information content and convert a corresponding signal of
        the multimedia information content to accommodate the production of the
        multimedia information content by the digital television” (’918 Patent, Claim 128).

 The Court therefore likewise hereby construes these terms to have their plain meaning.

     A-3. Supplemental “hub” Terms

        In supplemental briefing, the parties addressed certain supplemental “hub” terms. The

 parties present the same arguments for these supplemental “hub” terms as set forth above regarding

 the terms “wireless HUB system,” “wireless hub,” “centralized HUB system,” and “centralized

 hub system.” (See Dkt. #186 at pp. 2–7; see also Dkt. #197 at pp. 3–4; Dkt. #205 at pp. 1–2).5

 The same analysis thus applies. These terms are (Dkt. #186 at p. 1; see Dkt. #111, Ex. 1 at pp. 9–

 10 & 11–12; see also Dkt. #200, Ex. E at pp. 13–15):

        D24. “wherein the wireless HUB system is further configured to communicate a
        video from a video camera to a user’s terminal at least in part through a cellular
        network” (’983 Patent, Claim 25); and

        D26. “wherein the wireless HUB system is configured to communicate information
        designated for a user of the wireless HUB system through a cellular network” (’983
        Patent, Claim 45).

 5
   Plaintiff’s supplemental brief attaches an August 7, 2019 Supplemental Declaration of Joseph
 C. McAlexander, III. (Dkt. #186, Ex. 25). In its supplemental response, Defendant Vector
 argues that the declaration is untimely under the Court’s Local Patent Rules, and “the Court
 should give no weight to this ambush evidence.” (Dkt. #197 at p. 3). No party has moved to
 strike the declaration. The Court need not resolve the parties’ disputes as to weight and
 timeliness because the August 7, 2019 Supplemental Declaration of Joseph C. McAlexander, III
 has not significantly affected the Court’s claim construction analysis.

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 The Court therefore likewise hereby construes these terms to have their plain meaning.

    B. “central controller” Terms

  Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

  Not governed by 35 U.S.C. § 112, ¶ 6              Governed by 35 U.S.C. § 112, ¶ 6

 (See Dkt. #119, Ex. 5 at pp. 28–31). The parties have submitted the following “central controller”

 terms (see Dkt. #119 at p. 32; see also Dkt. #200, Ex. H at pp. 2–7):

        D114. “wherein the central controller is configured to receive information
        regarding the item status signal and identify the item in connection with a successful
        transmission of the item status signal from the wireless transmitter” (’443 Patent,
        Claim 1);

        D115. “wherein the central controller is further configured to identify the item is
        based on recognition of the unique identifier of the item stored in the memory”
        (’443 Patent, Claim 1);

        D116. “wherein the central controller is further configured to perform a processing
        of a purchase request for the item to increase the household inventory of the item
        in connection with identification of the item” (’443 Patent, Claim 1);

        D117. “wherein the central controller is further configured to communicate
        information for the processing of the purchase request through a network
        communication channel to complete the processing of the purchase request, the
        network communication channel being separate from the wireless transmission
        channel established for the transmission of the item status signal” (’443 Patent,
        Claim 1); and

        D118. “wherein the central controller is configured to send confirmation
        information regarding the processing of the purchase request” (’443 Patent,
        Claim 1).

        1. The Parties’ Positions

        Plaintiff argues that “[t]he claimed ‘controller’ and the related term ‘microcontroller’ are

 part of a well-known class of structures,” and “[t]he claims themselves recite additional structural

 interconnectivity with other elements of the claims.” (Dkt. #119 at pp. 32 & 33). Further, Plaintiff




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 argues that “[t]he specification also describes the structural interconnection that examples of the

 central controller may have in the disclosed embodiments.” (Id. at p. 33).

        Defendants respond that “[w]hile the terms ‘central’ and ‘controller’ may individually have

 some meaning, the combination of those terms does not connote a structure sufficient to perform

 the claimed functions.” (Dkt. #131 at p. 23).

        Plaintiff replies that technical dictionaries confirm that “those of skill in the art understand

 that the term ‘controller’ refers to known structures.” (Dkt. #144 at p. 11; see id. at pp. 10–11).

        2. Analysis

        Claim 1 of the ’443 Patent recites (emphasis added):

        1. A system for facilitating electronic communications, the system comprising:
                 a central controller;
                 a memory; and
                 a wireless transmitter configured to transmit, through a wireless
        transmission channel, an item status signal in connection with an initiation of an
        increase of a household inventory of an item, the wireless transmission channel
        being established for transmission of the item status signal in a local wireless
        communication network in response to an indication of an updated status of the
        item;
                 wherein the memory is configured to store a unique identifier for the item
        and information related with the household inventory of the item, the information
        related with the household inventory of the item including a purchase requirement
        of the item;
                 wherein the wireless transmitter is designated to transmit the item status
        signal;
                 wherein the central controller is configured to receive information
        regarding the item status signal and identify the item in connection with a successful
        transmission of the item status signal from the wireless transmitter;
                 wherein the wireless transmitter is associated with the item;
                 wherein the information regarding the item status signal comprises
        information for the unique identifier for the item;
                 wherein the central controller is further configured to identify the item is
        based on recognition of the unique identifier of the item stored in the memory;
                 wherein the central controller is further configured to perform a processing
        of a purchase request for the item to increase the household inventory of the item
        in connection with identification of the item;
                 wherein the central controller is further configured to communicate
        information for the processing of the purchase request through a network

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        communication channel to complete the processing of the purchase request, the
        network communication channel being separate from the wireless transmission
        channel established for the transmission of the item status signal;
                wherein the information for the processing of the purchase request
        comprises a shipping payment information for the purchase request address for the
        item; and
                wherein the central controller is configured to send confirmation
        information regarding the processing of the purchase request.

        Legal principles regarding 35 U.S.C. § 112, ¶ 6 are set forth above as to the “hub” terms.

 Here, Defendants have not shown that “controller” (or “central controller”) is a “nonce” term under

 Williamson, and Defendants submit no persuasive evidence that the term “central controller” fails

 to connote structure in the relevant art. See 792 F.3d at 1350. Nothing in the specification suggests

 that “central controller” lacks structure. See ’443 Patent at 4:43–51 (describing “Radio Network

 Controller” as a “conventional element[] of a cellular network”).

        Plaintiff submits technical dictionary definitions of “controller,” thereby reinforcing that

 the term “controller” refers to a known class of structures in the art. (See Dkt. #144, Ex. 18, The

 IEEE Standard Dictionary of Electrical and Electronics Terms 217 (6th ed. 1996) (“The

 component of a system that functions as the system controller. A controller typically sends

 program messages to and receives response messages from devices.”); see also id., Ex. 19, IBM

 Dictionary of Computing 145 (10th ed. 1993) (“A device that coordinates and controls the

 operation of one or more input/output devices, such as workstations, and synchronizes the

 operation of such devices with the operation of the system as a whole.”)).6




 6
  Also of note, Plaintiff submits a definition of “microcontroller” as: “A special-purpose, single-
 chip computer designed and built to handle a particular, narrowly defined task.” (Dkt. #119, Ex. 6,
 Microsoft Computer Dictionary 337 (5th ed. 2002)).

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        Defendants’ expert opines: “This term, although made up of certain words that alone have

 a meaning to those of skill in the art, does not have a computer science meaning as recited in the

 claims of the ’443 patent.” (Dkt. #119, Ex. 13, May 6, 2019 Johnson Decl. at ¶ 524).

        Defendants fail to show, however, how the modifier “central” purportedly renders the well-

 known meaning of controller inapplicable. The opinion of Defendants’ expert is therefore

 unpersuasive. Defendants’ reliance on Advanced Ground Information Systems, Inc. v. Life360,

 Inc. is similarly unavailing. See 830 F.3d at 1348 (as to “symbol generator,” stating that

 “[i]rrespective of whether the terms ‘symbol’ and ‘generator’ are terms of art in computer science,

 the combination of the terms as used in the context of the relevant claim language suggests that it

 is simply an abstraction that describes the function being performed (i.e., the generation of

 symbols)”). These findings are consistent with principles articulated by the Federal Circuit prior

 to the abrogated Lighting World decision. See Greenberg, 91 F.3d at 1583 (quoted above).

        The Court therefore concludes that Defendants fail to rebut the presumption against means-

 plus-function treatment. Defendants present no alternative proposed constructions. No further

 construction is necessary.

        Defendants cite St. Isidore Research, LLC v. Comerica Inc., et al., in which the Court found

 that “how the ‘processor configured to . . .’ terms operate with the other claimed components is

 not sufficiently recited or described.” No. 2:15-CV-1390, 2016 WL 4988246, at *14 (E.D. Tex.

 Feb. 9, 2017). In the present case, the claim language describes how the controller “interact[s]

 . . .with other limitations in the claim to achieve [its] objectives.” Id. In particular, “the central

 controller is configured to receive information regarding the item status signal and identify the

 item in connection with a successful transmission of the item status signal from the wireless

 transmitter,” “identify the item . . . based on recognition of the unique identifier of the item stored



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 in the memory,” “perform a processing of a purchase request for the item to increase the household

 inventory of the item in connection with identification of the item,” “communicate information for

 the processing of the purchase request through a network communication channel to complete the

 processing of the purchase request,” and “send confirmation information regarding the processing

 of the purchase request.” On balance, St. Isidore is not persuasive here. Also, Defendants’ reliance

 on Danco is unpersuasive for the same reasons set forth regarding the above-discussed “hub”

 terms. See Danco, 2017 WL 4225217, at *7.

          Defendants further argue that the claim fails to set forth sufficient structure because “[t]he

 central controller must be given information about the format and meaning of the unique identifier

 of the item, and would need direction as to where the unique identifier is stored in memory.” In

 light of the above-discussed evidence that “controller” has a well-known structural meaning,

 Defendants’ argument might perhaps be relevant to consideration of the enablement requirement

 under 35 U.S.C. § 112, ¶ 1, but is not persuasive as to the present claim construction dispute.

          Finally, Defendants fail to support their contention that the known structure must be known

 to function in the specific manner set forth in the claims. The analysis of this issue as to the “hub”

 terms, addressed above, applies here as to the “controller” terms. See Apex, 325 F.3d at 1373; see

 also Chrimar, 732 F. App’x at 884–85; Zeroclick, 891 F.3d at 1008; MTD, 2019 WL 3770828,

 at *6.

          The Court therefore hereby construes these above-identified “central controller” terms to

 have their plain meaning.




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       C. “management center system,” “management system,” and Related Terms

     Plaintiff’s Proposed Construction               Defendants’ Proposed Construction

     “a system for communicating with user Indefinite and lack of written description under
     devices, sensors, appliances, and/or wireless 35 U.S.C. § 112
     HUBs for monitoring and/or control”

 (Dkt. #111, Ex. 1 at p. 3; Dkt. #119 at pp. 14–15). Plaintiff submits that these terms appear in

 Claims 33, 37, 38, 42, 116, 128, and 135 of the ’918 Patent. (Dkt. #119 at p. 14; Dkt. #144 at

 p. 19). Defendants submit that these terms appear in Claims 86, 103, and 108 of the ’983 Patent,

 Claims 38 and 135 of the ’918 Patent, and Claim 52 of the ’798 Patent. (Dkt. #131 at p. 26).

          In addition to the terms “management center system” and “management system” (see Dkt.

 #119 at pp. 14–15), the parties submit the following larger “management system” terms (see Dkt.

 #119 at pp. 24 & 41–42; see also Dkt. #200, Ex. E at pp. 9–13; id., Ex. F at pp. 5–8):

          D57. “wherein the management center system is configured to perform a processing
          of the request for the multimedia information content in association with
          transmission of the multimedia information content to the digital television through
          a high definition multimedia interface” (’918 Patent, Claims 37, 135);

          D58. “wherein the management center system is further configured to search a
          content server for the multimedia information content in conjunction with the
          processing of the request for the multimedia information content” (’918 Patent,
          Claim 38);

          D59. “wherein the management center system is further configured to route the
          multimedia information content to accommodate the production by the digital
          television” (’918 Patent, Claim 38);

          D83. “wherein the management center system is further configured to search a
          content server for the multimedia information content in conjunction with the
          processing of the request for the multimedia information content” (’918 Patent,
          Claim 38);7

          D30. “wherein the management center system is configured to communicate a
          phone call with the first mobile terminal, a data from the first mobile terminal and


 7
     Term D83 is the same as term D58, above.

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        from a cellular network being converted to a converted data for transmission
        through the WiFi network” (’983 Patent, Claim 86);

        D31. “wherein the management center system is configured to transmit the
        converted data through the WiFi network to accommodate the phone call” (’983
        Patent, Claim 86);

        D38. “wherein the management center system is further configured to communicate
        information for managing an item status of an item based on a wireless signal
        regarding an updated status of the item” (’983 Patent, Claim 103);

        D40. “wherein the management center system is configured to communicate
        information about an updated status of an item in association with a short range
        wireless communication regarding the updated status” (’983 Patent, Claim 108);
        and

        D100. “wherein the management system is configured to notify a user of the
        updated status according to a configuration setting” (’798 Patent, Claim 52).

        1. The Parties’ Positions

        Plaintiff argues that “[t]he claimed ‘management center system’ recites sufficiently definite

 structure,” and “[a]n example of a management center system is disclosed in Figure 16 of the ’918

 patent.” (Dkt. #119 at p. 25).

        Defendants respond: “The terms ‘management center’ and ‘management system’ imply

 only the generic function of managing something in an unspecified manner. They are well-

 recognized nonce words.” (Id. at p. 27). Defendants argue that “[o]n their own, they do not

 connote any structure—i.e., a specific piece of hardware or an algorithm—to one of ordinary skill

 in the art, let alone sufficient structure to perform the recited functions.” (Id.) Defendants also

 argue: “[T]hat the management center interacts with a conventional WiFi network or a

 conventional high definition display says nothing about the structure of the system itself or how it

 is configured with the other conventional components to perform the claimed functions.” (Id. at

 p. 29). Finally, as to disclosures cited by Plaintiff, Defendants argue that “the specification

 describes the MC System depicted in Figure 16 solely by its function.” (Id.)

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         Plaintiff’s reply brief, as to the “management center system” and “management system”

 terms, states in full as follows:

         Defendants did not brief the construction of these terms other than as part of their
         alleged means-plus-function claim terms. Defendants originally argued that these
         terms were indefinite. Innovation’s Opening Claim Construction Brief explains
         how that argument is wrong. Because Defendants did not raise the issue of
         definiteness apart from the means-plus-function analysis, Defendants have waived
         their original contention that these terms were indefinite.

 (Dkt. #144 at pp. 19–20).

         2. Analysis

         Legal principles regarding 35 U.S.C. § 112, ¶ 6 are set forth above as to the “hub” terms.8

 Claim 86 of the ’983 Patent, for example, recites (emphasis added):

         86. A management center system for managing information communications for
         multiple user terminals comprising:
                 a mapping table including information of a network address of a WiFi
         network and information of a unique identifier of a first mobile terminal; and
                 a network interface,
                 wherein the management center system is configured to communicate a
         phone call with the first mobile terminal, a data from the first mobile terminal and
         from a cellular network being converted to a converted data for transmission
         through the WiFi network;
                 wherein the management center system is configured to transmit the
         converted data through the WiFi network to accommodate the phone call;
                 wherein the management center system is configured to receive a request
         for an information content;
                 wherein the management center system is configured to transmit a signal
         corresponding to information content; wherein the signal comprises a compressed
         signal; and wherein the compressed signal is decompressed to accommodate
         production of the information content.



 8
  Plaintiff submitted in its opening brief that “[t]he specification of the ’918 patent gives a rich,
 detailed description of the Figure 16 embodiment of a management center system or management
 system.” (Dkt. #119 at p. 14). In its reply brief, Plaintiff asserted that “[b]ecause Defendants did
 not raise the issue of definiteness apart from the means-plus-function analysis, Defendants have
 waived their original contention that these terms were indefinite.” (Dkt. #144 at pp. 19–20).
 Defendants’ response brief asserts indefiniteness only under 35 U.S.C. § 112, ¶ 6 and not under
 35 U.S.C. § 112, ¶ 2 more generally. (See Dkt. #131).

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        The claim thus expressly recites that the “management center system” comprises “a

 mapping table” and “a network interface.” Defendants do not contest that the “mapping table”

 and the “network interface” connote structure. (See Dkt. #131 at pp. 26–30.) The same analysis

 applies to the other claims at issue in the ’983 Patent, namely Claims 103 and 108, because those

 claims depend from above-reproduced Claim 86.

        Claim 52 of the ’798 Patent depends from Claim 1, which recites a management system

 comprising a “centralized hub system,” which has been presented as a distinct disputed term

 (addressed above) and which the Court has found connotes structure.

        The Court therefore finds that these disputed “management center system” and

 “management system” terms in the ’983 Patent and the ’798 Patent are not governed by 35 U.S.C.

 § 112, ¶ 6.

        In the ’918 Patent, by contrast, Claim 33 for example recites (formatting modified;

 emphasis added):

        33. A system comprising:
                a management center system;
                a wireless hub;
                at least one mapping table configured to register a unique hub identifier of
        the wireless hub; and
                at least one database configured to store user service profile information of
        a user account in the at least one mapping table, wherein the at least one database
        is configured to store information regarding a household item associated with the
        user account, the information regarding the household item including household
        item status information for the household item, the information regarding the
        household item including a unique identifier for the household item;
                wherein the wireless hub is configured to receive a request for a particular
        information content;
                wherein the wireless hub is configured to send a data package to the
        management center system through a wireless communication network based on
        the request for the particular information content, the data package including
        information for the unique hub identifier;
                wherein the management center system is configured to perform a
        processing of the data package;



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                 wherein the processing of the data package comprises identifying the
         wireless hub based on recognition of the unique hub identifier registered in the at
         least one mapping table;
                 wherein the wireless hub is configured to receive the particular information
         content through the wireless communication network in connection with
         identification, by the management center system, of the wireless hub;
                  wherein the wireless hub is configured to perform a conversion of a
         corresponding signal of the particular information content to accommodate
         production of the particular information content;
                 wherein the corresponding signal comprises a compressed signal;
                 wherein the wireless hub is configured to decompress the compressed signal
         to a decompressed signal;
                 wherein the wireless hub is further configured to communicate information
         about an updated status of the household item in conjunction with a short range
         wireless communication regarding the updated status; and
                 wherein, in connection with recognition, by the system, of information for
         the unique identifier for the household item associated with the short range wireless
         communication, the system is configured to update the household item status
         information for the household item corresponding to the updated status of the
         household item, wherein the wireless communication network is separate from a
         wireless channel for the short range wireless communication.

         The claims at issue in the ’918 Patent do not recite that the “management center system”

 comprises any particular structure, and Plaintiff fails to demonstrate that “management center

 system” has any known structural meaning in the art. Further, “the claim[s] do[] not describe how

 the ‘[management center system]’ interacts with other components . . . in a way that might inform

 the structural character of the limitation-in-question or otherwise impart structure to the

 ‘[management center system]’ as recited in the claim.” Williamson, 792 F.3d at 1351. For

 example, Plaintiff’s reliance on the recital in Claim 38 of the ’918 Patent that “the management

 center system is further configured to search a content server for the multimedia information

 content . . .” is unavailing.

         The Court therefore finds that the above-identified “management center system” terms in

 the ’918 Patent are means-plus-function terms governed by 35 U.S.C. § 112, ¶ 6. As to the claimed

 functions, Plaintiff has not challenged Defendants’ proposals. The Court therefore turns to



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 whether the specification discloses corresponding structure. “[T]he patent specification must

 disclose with sufficient particularity the corresponding structure for performing the claimed

 function and clearly link that structure to the function.” Triton, 753 F.3d at 1378.

        The specification discloses a “Management Center (MC) System” that is linked to the

 functions of processing a request, searching a content server, and routing multimedia information.

 See ’918 Patent at 21:33–35 (“a Management Center (MC) System receives, selects, converts,

 compresses, decompresses, and routs [sic] data to the user terminals”), 21:46–50 (“routing content

 to various connected devices”), 21:59–63 (“selecting” data) & 23:59–65 (“initiating

 communications with the MC System”) & Fig. 16 (illustrating “MC System”).9

        Yet, Plaintiff does not show that the disclosed “MC System” is anything other than a

 general-purpose computer. See, e.g., id. at 22:11–12 (“the MC System includes data storage such

 as a hard disk”) & 22:19–20 (“the MC System may include software and/or hardware for filtering

 and treating viruses”).

        Because the specification links the claimed function to a general-purpose computer, an

 algorithm is required. See WMS Gaming, Inc. v. Int’l Game Tech., 184 F.3d 1339, 1349 (Fed. Cir.

 1999) (“In a means-plus-function claim in which the disclosed structure is a computer, or

 microprocessor, programmed to carry out an algorithm, the disclosed structure is not the general

 purpose computer, but rather the special purpose computer programmed to perform the disclosed

 algorithm.”); see also Net MoneyIN Inc. v. VeriSign, Inc., 545 F.3d 1359, 1367 (Fed. Cir. 2008)




 9
  Defendants submit that “Figure 16 and its associated description were not a part of the earliest
 application from which the elected claims of the ’983, ’918, and ’798 patents allegedly claim
 priority.” (Dkt. #147-1 at p. 4).

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 (citing WMS Gaming). Plaintiff’s discussion of the MC System in the Background section of its

 reply brief does not compel otherwise. (See Dkt. #144 at pp. 1–3).10

        Also, Plaintiff has not demonstrated that the so-called “Katz” exception applies. That is,

 Plaintiff has not shown that the claimed functions could be performed by any general-purpose

 computer without special programming. See In re Katz Interactive Call Processing Patent Litig.,

 639 F.3d 1303, 1316 (Fed. Cir. 2011) (“Absent a possible narrower construction of the terms

 ‘processing,’ ‘receiving,’ and ‘storing,’ . . . those functions can be achieved by any general purpose

 computer without special programming.”).

        Plaintiff identifies no algorithms disclosed in the specification for performing the claimed

 functions. (See Dkt. #119 at pp. 14–15.) This lack of disclosure renders the claims at issue

 indefinite. See Noah Sys., Inc. v. Intuit Inc., 675 F.3d 1302, 1319 (Fed. Cir. 2012) (“Computer-

 implemented means-plus-function claims are indefinite unless the specification discloses an

 algorithm to perform the function associated with the limitation.”); see also Net MoneyIN, 545

 F.3d at 1367; Williamson, 792 F.3d at 1352–54.


 10
    See ’983 Patent at 12:37–52 (“The diaper management system 500 includes a diaper condition
 sensing module 510 and a central receiver/controller (CRC) 520. The CRC 520 operates on a
 conventional processing platform . . . .”), 21:10–45 (“a Management Center (MC) System
 receives, selects, converts, compresses, decompresses, and rout[e]s data to the user terminals”),
 21:51–58 (“Receiving, converting and transmitting multimedia content may be performed in two
 directions using the MC System.”), 21:64–22:18 (“The MC System also includes a mapping table
 and a routing module.”; “The MC System may also conveniently retain converted content (e.g.,
 compressed, coded, decrypted, decompressed) for subsequent additional access.”), 24:4–9 (“some
 data are also compressed and reorganized at the MC System so that they have certain data package
 sizes and formats”; “signals sent from a wet diaper, fire alarm, and/or theft sensor”), 24:18–29
 (“[t]he CHS [(‘centralized HUB system’)] communicates with the MC System”; “home appliances
 (e.g., TV set, PC, Handset, Printer, PALM, camera, Headset, game controller, refrigerator, etc.)
 may also function through a centralized HUB system (CHS)”), 24:25–29 (“The CHS can also be
 built into a cable modem, TV set top box, or other device.”) & 24:43–61 (“A handset (e.g., cellular
 phone) can receive Internet data through CHS and/or MS instead of communicating with a cellular
 base station.”) & 26:14–64 (“A variety of data transmission protocols may be used to transmit
 multimedia content to the MC System . . . .”).

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          The Court therefore hereby construes these disputed terms as set forth in the following

 chart:

                       Term                                        Construction

  “management center system”                      Plain meaning

  (’983 Patent, Claims 86, 103, 108)              (35 U.S.C. § 112, ¶ 6 does not apply)

  “management system”                             Plain meaning

  (’798 Patent, Claim 52)                         (35 U.S.C. § 112, ¶ 6 does not apply)

  “wherein the management center system is        35 U.S.C. § 112, ¶ 6 applies
  configured to perform a processing of the
  request for the multimedia information          Function:
  content in association with transmission of         “perform a processing of the request for the
  the multimedia information content to the       multimedia information content in association
  digital television through a high definition    with transmission of the multimedia
  multimedia interface”                           information content to the digital television
                                                  through a high definition multimedia
  (’918 Patent, Claims 37, 135)                   interface”

                                                  Corresponding Structure:
                                                     Indefinite

  “wherein the management center system is        35 U.S.C. § 112, ¶ 6 applies
  further configured to search a content
  server for the multimedia information           Function:
  content in conjunction with the processing          “search a content server for the multimedia
  of the request for the multimedia               information content in conjunction with the
  information content”                            processing of the request for the multimedia
                                                  information content”
  (’918 Patent, Claim 38)
                                                  Corresponding Structure:
                                                     Indefinite




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  “wherein the management center system is 35 U.S.C. § 112, ¶ 6 applies
  further configured to route the multimedia
  information content to accommodate the Function:
  production by the digital television”          “route the multimedia information content
                                             to accommodate the production by the digital
  (’918 Patent, Claim 38)                    television”

                                                   Corresponding Structure:
                                                      Indefinite


    D. “wireless signal conversion apparatus,” “signal conversion unit,” and “processing
    unit”


     “at least one processing unit configured to perform a conversion of the multimedia
   signal, wherein the conversion of the multimedia signal comprises decompressing, by a
            decoder, the compressed digital video signal to a decompressed signal”
                                     (’918 Patent, Claim 9)

  Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

  Innovation understands that the only issue with Governed by pre-AIA § 112, para. 6
  respect to this claim term is defendants’
  contention that it is governed by pre-AIA Function:
  § 112, para. 6. Thus, Innovation’s contention         “perform a conversion of the multimedia
  is limited to that issue.                         signal, wherein the conversion of the
                                                    multimedia signal comprises decompressing,
  Innovation contends that this claim term by a decoder, the compressed digital video
  recites sufficiently definite structure to one of signal to a decompressed signal”
  ordinary skill in the art. Alternatively, if this
  term is governed by pre-AIA § 112, para. 6, the Structure:
  corresponding        structure(s),   act(s),   or     Indefinite under pre-AIA § 112 for failure
  material(s): processor (see MTSCM 1000). to disclose corresponding structure
  The claimed function is: perform a conversion
  of the multimedia signal.




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   “wherein wireless signal conversion apparatus is configured to: communicate, through
     the wireless communication network, information about an updated status of the
  household item in conjunction with a short range wireless communication regarding the
                                      updated status”
                                   (’918 Patent, Claim 27)

  Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

  Innovation understands that the only issue with Governed by pre-AIA § 112, para. 6
  respect to this claim term is defendants’
  contention that it is governed by pre-AIA Function:
  § 112, para. 6. Thus, Innovation’s contention          “communicate, through the wireless
  is limited to that issue.                           communication network, information about an
                                                      updated status of the household item in
  Innovation contends that this claim term conjunction with a short range wireless
  recites sufficiently definite structure to one of communication regarding the updated status”
  ordinary skill in the art. Alternatively, if this
  term is governed by pre-AIA § 112, para. 6, the Structure:
  corresponding        structure(s),     act(s),   or    Indefinite under pre-AIA § 112 for failure
  material(s): network interface card (see MC to disclose corresponding structure
  System), or transmitter(s) and/or receiver(s)
  (see MC System). The claimed function is:
  communicate,         through       the     wireless
  communication network, information about an
  updated status of the household item in
  conjunction with a short range wireless
  communication regarding the updated status.




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   “wherein the signal conversion unit is configured to decompress the compressed video
                          signal to a decompressed video signal”
                                  (’918 Patent, Claim 128)

  Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

  Innovation understands that the only issue with Governed by pre-AIA § 112, para. 6
  respect to this claim term is defendants’
  contention that it is governed by pre-AIA Function:
  § 112, para. 6. Thus, Innovation’s contention       “decompress the compressed video signal
  is limited to that issue.                       to a decompressed video signal”

  Innovation contends that this claim term Structure:
  recites sufficiently definite structure to one of     Indefinite under pre-AIA § 112 for failure
  ordinary skill in the art. Alternatively, if this to disclose corresponding structure
  term is governed by pre-AIA § 112, para. 6, the
  corresponding       structure(s),    act(s),   or
  material(s): converter (see MC System). The
  claimed function is: decompress the
  compressed video signal to a decompressed
  video signal.




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     “wherein the signal conversion unit is configured to encode the decompressed video
   signal to produce an encoded signal for transmission to the digital television through a
    digital output interface, the encoded signal comprising a decompressed digital video
                                            signal”
                                    (’918 Patent, Claim 128)

  Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

  Innovation understands that the only issue with Governed by pre-AIA § 112, para. 6.
  respect to this claim term is defendants’
  contention that it is governed by pre-AIA Function:
  § 112, para. 6. Thus, Innovation’s contention         “encode the decompressed video signal to
  is limited to that issue.                         produce an encoded signal for transmission to
                                                    the digital television through a digital output
  Innovation contends that this claim term interface, the encoded signal comprising a
  recites sufficiently definite structure to one of decompressed digital video signal”
  ordinary skill in the art. Alternatively, if this
  term is governed by pre-AIA § 112, para. 6, the Structure:
  corresponding        structure(s),   act(s),   or     Indefinite under pre-AIA § 112 for failure
  material(s): converter (see MC System), or to disclose corresponding structure.
  DDVE 1104c. The claimed function is:
  encode the decompressed video signal to
  produce an encoded signal for transmission to
  the digital television through a digital output
  interface.


 (Dkt. #111, Ex. 1 at pp. 35–36, 38–40 & 51–53; Dkt. #119, Ex. 5 at pp. 15, 16 & 21–22; see Dkt.

 #119 at pp. 30, 34 & 43; see also Dkt. #131 at p. 30; Dkt. #200, Ex. F at pp. 8–9, 10–11 & 14–15).

        1. The Parties’ Positions

        Plaintiff argues that “[t]he claimed ‘signal conversion unit’ is part of a well-known class

 of structures,” and “[t]he claims themselves recite structural interconnectivity with other elements

 of the claims. (Dkt. #119 at pp. 34 & 35). Plaintiff submits that “[t]he specification also describes

 the structure and structural interconnection that examples of the signal conversion unit may have

 in the disclosed embodiments.” (Id. at p. 35). Likewise, Plaintiff argues that “[t]he claimed

 ‘processing unit’ is part of well-known classes of structures,” and “the term ‘central processing


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 unit’ is widely used in the electrical engineering arts and has a meaning so well known that it is

 found in technical dictionaries.” (Id. at p. 30).

        Defendants respond that “[t]hese terms do not connote structure sufficient to perform the

 claimed functions and, therefore, must be construed under § 112, ¶ 6.” (Dkt. #131 at p. 31).

 Defendants also argue that “[t]he term must be construed under § 112, ¶ 6 regardless of whether it

 also appears in the preamble.” (Id. at p. 32). Further, Defendants argue that “[a] general-purpose

 processor or network adapter cannot perform the functions of the wireless signal conversion

 apparatus, signal conversion unit, and processing unit without some special programming or

 algorithm, and the asserted patents nowhere disclose such an algorithm.” (Id. at p. 33).

        Plaintiff’s reply brief does not specifically address these terms. (See Dkt. #144).

        2. Analysis

        These disputed terms appear in Claims 9, 27, and 128 of the ’918 Patent, which recite

 (emphasis added):

        9. A wireless signal conversion apparatus comprising:
                an input interface configured to receive a multimedia signal through a
        wireless communication network, the multimedia signal comprising a compressed
        digital video signal;
                at least one processing unit configured to perform a conversion of the
        multimedia signal, wherein the conversion of the multimedia signal comprises
        decompressing, by a decoder, the compressed digital video signal to a
        decompressed signal; wherein the conversion of the multimedia signal further
        comprises encoding, by an encoder, the decompressed signal to produce an encoded
        signal for transmission to a destination device,
                wherein the encoded signal comprises a decompressed digital video signal;
        and
                a high definition digital output interface configured to transmit the encoded
        signal to the destination device,
                wherein the mobile terminal is configured to transmit the encoded signal to
        the destination device through a predetermined communication channel in
        conjunction with a navigational command for the predetermined communication
        channel;
                wherein the predetermined communication channel comprises the high
        definitional [sic] digital output interface; and

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              wherein the destination device is a digital television.

       ***

       27. The wireless signal conversion apparatus of claim 9, wherein wireless signal
       conversion apparatus is configured to:
              communicate, through the wireless communication network, information
       about an updated status of the household item in conjunction with a short range
       wireless communication regarding the updated status.

       ***

       128. A system comprising:
               a management center system;
               a wireless hub;
               at least one mapping table configured to register a unique hub identifier of
       the wireless hub; and
               at least one database configured to store user service profile information of
       a user account in the at least one mapping table,
               wherein the wireless hub is configured to receive a request for a particular
       information content;
               wherein the wireless hub is configured to send a data package to the
       management center system through a wireless communication network based on
       the request for the particular information content, the data package including
       information for the unique hub identifier;
               wherein the management center system is configured to perform a
       processing of the data package;
               wherein the processing of the data package comprises identifying the
       wireless hub based on recognition of the unique hub identifier registered in the at
       least one mapping table;
               wherein the wireless hub is configured to receive the particular information
       content through the wireless communication network in connection with
       identification of the wireless hub;
               wherein the wireless hub is configured to perform a conversion of a
       corresponding signal of the particular information content to accommodate
       production of the particular information content;
               wherein the corresponding signal comprises a compressed signal;
               wherein the wireless hub is configured to decompress the compressed signal
       to a decompressed signal;
               wherein the wireless hub is further configured to receive a request for a
       multimedia information content for production by a digital television;
               wherein the system further comprises a signal conversion unit configured
       to receive the multimedia information content and convert a corresponding signal
       of the multimedia information content to accommodate the production of the
       multimedia information content by the digital television;



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                 wherein the corresponding signal of the multimedia information content
        comprises a compressed video signal;
                 wherein the signal conversion unit is configured to decompress the
        compressed video signal to a decompressed video signal; and
                 wherein the signal conversion unit is configured to encode the
        decompressed video signal to produce an encoded signal for transmission to the
        digital television through a digital output interface, the encoded signal comprising
        a decompressed digital video signal.

        As to “wireless signal conversion apparatus,” this term appears only in the preambles of

 the claims here at issue.

        In general, a preamble limits the invention if it recites essential structure or steps,
        or if it is “necessary to give life, meaning, and vitality” to the claim. Pitney Bowes[,
        Inc. v. Hewlett-Packard Co.], 182 F.3d [1298,] 1305 [(Fed. Cir. 1999)].
        Conversely, a preamble is not limiting “where a patentee defines a structurally
        complete invention in the claim body and uses the preamble only to state a purpose
        or intended use for the invention.” Rowe v. Dror, 112 F.3d 473, 478, 42 USPQ2d
        1550, 1553 (Fed. Cir. 1997).

 Catalina Mktg. Int’l, Inc. v. Coolsavings.com, Inc., 289 F.3d 801, 808 (Fed. Cir. 2002).

 “Generally, the preamble does not limit the claims.” Allen Eng’g Corp. v. Bartell Indus., 299 F.3d

 1336, 1346 (Fed. Cir. 2002).

        Here, Defendants do not show that the preamble term “wireless signal conversion

 apparatus” is limiting. (See Dkt. #131 at pp. 32–33). Instead, this preamble language is merely

 “descriptive.” IMS Tech., Inc. v. Haas Automation, Inc., 206 F.3d 1422, 1434 (Fed. Cir. 2000)

 (“The phrase ‘control apparatus’ in the preamble merely gives a descriptive name to the set of

 limitations in the body of the claim that completely set forth the invention.”); see Deere & Co. v.

 Bush Hog, LLC, 703 F.3d 1349, 1358 (Fed. Cir. 2012) (“if the body of the claim describes a

 structurally complete invention, a preamble is not limiting where it ‘merely gives a name’ to the

 invention, extols its features or benefits, or describes a use for the invention”) (quoting Catalina,

 289 F.3d at 809).




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         The Court therefore rejects Defendants’ proposal as to construing “wireless signal

 conversion apparatus” pursuant to 35 U.S.C. § 112, ¶ 6. There being no other dispute as to Claim

 27 of the ’918 Patent, the Court construes “communicate, through the wireless communication

 network, information about an updated status of the household item in conjunction with a short

 range wireless communication regarding the updated status” to have its plain meaning.

         As to “processing unit,” legal principles regarding 35 U.S.C. § 112, ¶ 6 are set forth above

 as to the “hub” terms. Here, Defendants have not shown that “processing unit” is a “nonce” term

 under Williamson, and Defendants submit no persuasive evidence that the term “processing unit”

 fails to connote structure in the relevant art. See 792 F.3d at 1350; see also id. at 1351 (noting that

 “modifiers” can impart structural meaning). Plaintiff submits a technical dictionary definition of

 “central processing unit,” thereby supporting Plaintiff’s position that the term “processing unit”

 refers to a known class of structures in the art. (See Dkt. #119, Ex. 6, Microsoft Computer

 Dictionary 132 (5th ed. 2002) (defining “CPU”: “Acronym for central processing unit. The

 computational and control unit of a computer. The CPU is the device that interprets and executes

 instructions. * * *”)).

         Disclosure in the specification regarding a “processor” is consistent with the evidence

 submitted by Plaintiff:

         Where the MTSCM [(mobile terminal signal conversion module)] 1000 is provided
         as software, it operates in the context of an execution platform. That is, the
         MTSCM 1000 includes instructions that are stored in memory for execution by a
         processor. Any conventional or to-be-developed execution platform may be used.
         The processor, memory, and related elements such as a power supply are well
         known and need not be described herein to convey an understanding of the
         invention.

 ’918 Patent at 17:30–37 (emphasis added). Also, Plaintiff’s expert persuasively opines:

         A processor is a known structural element in the electronics world; indeed, there
         are a number of different processors, but they are all understood to be structures.

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          A processing unit might be one processor, but it may comprise a combination of
          processors operating together as a unit in order to improve throughput.

 (Dkt. #119, Ex. 7, May 23, 2019 McAlexander Decl. at ¶ 17). The opinions of Defendants’ expert

 to the contrary are unpersuasive. (See id., Ex. 13, May 6, 2019 Johnson Decl. at ¶¶ 199–200).

 Finally, Defendants fail to support their contention that the known structure must be known to

 function in the specific manner set forth in the claims. The analysis of this issue as to the “hub”

 terms, addressed above, applies here as well. See Apex, 325 F.3d at 1373; see also Chrimar, 732

 F. App’x at 884–85; Zeroclick, 891 F.3d at 1008; MTD, 2019 WL 3770828, at *6.

          As to the “signal conversion unit,” however, Plaintiff fails to demonstrate that this term has

 any known meaning in the relevant art. Instead, this “unit” is recited merely functionally and is

 analogous to the term “cheque standby unit” as to which the Federal Circuit found 35 U.S.C. § 112,

 ¶ 6 applicable in Diebold.       See 899 F.3d at 1301–02.         Plaintiff’s reliance on “structural

 interconnectivity with other elements of the claims” (see Dkt. #119 at p. 35) is unavailing because

 “the claim does not describe how the ‘[signal conversion unit]’ interacts with other components

 . . . in a way that might inform the structural character of the limitation-in-question or otherwise

 impart structure to the ‘[signal conversion unit]’ as recited in the claim.” See Williamson, 792

 F.3d at 1351. The Court therefore finds that 35 U.S.C. § 112, ¶ 6 applies to the “signal conversion

 unit.”

          The parties present no dispute as to the claimed functions for the “signal conversion unit”

 term. These functions are “to decompress the compressed video signal to a decompressed video

 signal” and “to encode the decompressed video signal to produce an encoded signal for

 transmission to the digital television through a digital output interface, the encoded signal

 comprising a decompressed digital video signal.”




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        The Court thus turns to whether the specification discloses corresponding structure. “[T]he

 patent specification must disclose with sufficient particularity the corresponding structure for

 performing the claimed function and clearly link that structure to the function.” Triton, 753 F.3d

 at 1378. Plaintiff proposes that the corresponding structure for the “signal conversion unit” terms

 is “converter (see MC System)” or “DDVE 1104c.” (Dkt. #119, Ex. 5 at pp. 21–22).

        The specification links the claimed functions to the “Video Compress Decoder 1104a” and

 the “Digital/Digital Video Encoder (DDVE) 1104c,” respectively:

        The Video Compress Decoder 1104a is configured to include the appropriate
        compression/decompression (CODEC) module to accommodate decompression of
        the received multimedia signal.

        ***

        The Video Compress Decoder 1104a outputs a decompressed digital multimedia
        signal that is passed to the Digital/Analog Video Encoder (DAVE) 1104b and/or
        the Digital/Digital Video Encoder (DDVE) 1104c. The DAVE 1104b is configured
        to prepare signals for analog external display terminals 1120, and the DDVE 1104c
        is configured to prepare signals for digital external display terminals 1122. The
        DAVE 1104b and DDVE 1104c respectively receive the decompressed multimedia
        signal and convert the signals to the format(s) and signal power level(s) required
        for the terminals to which they interface.

        . . . [T]he DDVE 1104c provides output using standards such as DVI, DVI-D,
        HDMI, and IEEE1394. The signals respectively provided by the DAVE 1104b and
        DDVE 1104c are provided to the terminals through conventional interfaces 1106a-
        b. The DAVE 1104b functionality may be embodied as a video card that is
        configured accordingly. Examples of video cards that may be configured to provide
        the described functionality include but are not limited to the Diamond Stealth S60,
        ASUS V9400-X, or RADEON 7000.

 ’918 Patent at 18:61–64 & 19:9–32 (emphasis added).

        Finally, Defendants fail to show that the “Video Compress Decoder 1104a” and

 “Digital/Digital Video Encoder (DDVE) 1104c” are general-purpose computers.              Thus, no

 algorithm requirement applies. See Net MoneyIN, 545 F.3d at 1367.




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            The Court therefore hereby construes these disputed terms as set forth in the following

 chart:11

                         Term                                           Construction

  “at least one processing unit configured to Plain meaning
  perform a conversion of the multimedia
  signal, wherein the conversion of the (35 U.S.C. § 112, ¶ 6 does not apply)
  multimedia         signal        comprises
  decompressing, by a decoder, the
  compressed digital video signal to a
  decompressed signal”

  (’918 Patent, Claim 9)

  “wireless signal conversion apparatus”              Not limiting

  (’918 Patent, Claim 27)

  “communicate, through the wireless Plain meaning
  communication network, information about
  an updated status of the household item in
  conjunction with a short range wireless
  communication regarding the updated
  status”

  (’918 Patent, Claim 27)




 11
    Defendants have also discussed findings of United States District Judge Liam O’Grady of the
 Eastern District of Virginia, such as findings that certain claims of different (albeit related) patents
 failed to satisfy the requirements of 35 U.S.C. § 101. See Virginia Innovation Sciences, Inc. v.
 Amazon.com, Inc., No. 1:16-CV-861, Dkt. #57 (E.D. Va. Jan. 5, 2017). Defendants fail to
 demonstrate that those findings regarding 35 U.S.C. § 101 are relevant to any claim construction
 dispute as to the present patents-in-suit.

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  “wherein the signal conversion unit is 35 U.S.C. § 112, ¶ 6 applies
  configured to decompress the compressed
  video signal to a decompressed video signal” Function:
                                                   “decompress the compressed video signal
  (’918 Patent, Claim 128)                     to a decompressed video signal”

                                                   Corresponding Structure:
                                                      “Video Compress Decoder 1104a, and
                                                   equivalents thereof”

  “wherein the signal conversion unit is           35 U.S.C. § 112, ¶ 6 applies
  configured to encode the decompressed
  video signal to produce an encoded signal        Function:
  for transmission to the digital television           “encode the decompressed video signal to
  through a digital output interface, the          produce an encoded signal for transmission to
  encoded signal comprising a decompressed         the digital television through a digital output
  digital video signal”                            interface, the encoded signal comprising a
                                                   decompressed digital video signal”
  (’918 Patent, Claim 128)12
                                                   Corresponding Structure:
                                                      “Digital/Digital Video Encoder (DDVE)
                                                   1104c, and equivalents thereof”




 12
    The parties have presented these “signal conversion unit” terms as distinct disputed terms, but
 the Court notes that both of these terms refer to the same signal conversion unit, which is recited
 in both terms as “the signal conversion unit.”

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    E. “transmitter” and “wireless transmitter” Terms


   “a transmitter configured to transmit, through a wireless transmission channel, a signal
   in connection with an initiation of a replenishment of an inventory of an item, the signal
  being transmitted through the wireless transmission channel in response to an indication
    of an updated status of the item, the signal comprising information corresponding to a
  unique identifier of the wireless device, information about the inventory of the item being
   stored in a database, a requirement of the item being included in the information about
                                   the inventory of the item”
                                     (’983 Patent, Claim 110)

  Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

  Innovation understands that the only issue with Governed by pre-AIA § 112, para. 6
  respect to this claim term is defendants’
  contention that it is governed by pre-AIA Function:
  § 112, para. 6. Thus, Innovation’s contention          “transmit, through a wireless transmission
  is limited to that issue.                         channel, a signal in connection with an
                                                    initiation of a replenishment of an inventory of
  Innovation contends that this claim term an item, the signal being transmitted through
  recites sufficiently definite structure to one of the wireless transmission channel in response
  ordinary skill in the art. Alternatively, if this to an indication of an updated status of the
  term is governed by pre-AIA § 112, para. 6, the item, the signal comprising information
  corresponding        structure(s),   act(s),   or corresponding to a unique identifier of the
  material(s): wireless and/or network interface wireless device, information about the
  (see CRC), or transmitter (see DCSM). The inventory of the item being stored in a
  claimed function is: transmit, through a database, a requirement of the item being
  wireless transmission channel, a signal in included in the information about the inventory
  connection with an initiation of a of the item”
  replenishment of an inventory of an item, the
  signal being transmitted through the wireless Structure:
  transmission channel in response to an                 Indefinite under pre-AIA § 112 for failure
  indication of an updated status of the item.      to disclose corresponding structure




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  “wireless transmitter configured to transmit, through a wireless transmission channel, an
  item status signal in connection with an initiation of an increase of a household inventory
    of an item, the wireless transmission channel being established for transmission of the
  item status signal in a local wireless communication network in response to an indication
                                of an updated status of the item”
                                      (’443 Patent, Claim 1)

  Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

  Innovation understands that the only issue with Governed by pre-AIA § 112, para. 6
  respect to this claim term is defendants’
  contention that it is governed by pre-AIA Function:
  § 112, para. 6. Thus, Innovation’s contention         “transmit, through a wireless transmission
  is limited to that issue.                         channel, an item status signal in connection
                                                    with an initiation of an increase of a household
  Innovation contends that this claim term inventory of an item, the wireless transmission
  recites sufficiently definite structure to one of channel being established for transmission of
  ordinary skill in the art. Alternatively, if this the item status signal in a local wireless
  term is governed by pre-AIA § 112, para. 6, the communication network in response to an
  corresponding        structure(s),   act(s),   or indication of an updated status of the item”
  material(s): wireless transmitter (see DSCM).
  The claimed function is: transmit, through a Structure:
  wireless transmission channel, an item status         Indefinite under pre-AIA § 112 for failure
  signal in connection with an initiation of an to disclose corresponding structure
  increase of a household inventory of an item.


 (Dkt. #111, Ex. 1 at pp. 26–27 & 95–96; see Dkt. #119 at p. 28; see also Dkt. #131 at p. 34; Dkt.

 #200, Ex. E at pp. 1–2; id., Ex. H at pp. 1–2).

        1. The Parties’ Positions

        Plaintiff argues that “[t]he claimed ‘transmitter’ and ‘wireless transmitter’ are part of well-

 known classes of structures,” and “[t]he claims themselves recite additional structural

 interconnectivity with other elements of the claims.” (Dkt. #119 at pp. 28 & 29).

        Defendants respond: “The ‘transmitter’ terms do not connote structure sufficient to perform

 the specific algorithms claimed in the asserted patents, and § 112, ¶ 6 therefore applies. Though




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 the term ‘wireless transmitter’ refers to a generic class of structure, it does not connote structure

 sufficient to perform entirely the claimed functions.” (Dkt. #131 at p. 34).

        Plaintiff’s reply brief does not specifically address these terms. (See Dkt. #144).

        2. Analysis

        Legal principles regarding 35 U.S.C. § 112, ¶ 6 are set forth above as to the “hub” terms.

        Here, Defendants do not show that “transmitter” and “wireless transmitter” are nonce terms

 under Williamson, and Defendants fail to demonstrate that the terms “transmitter” and “wireless

 transmitter” lack structural meaning in the relevant art. See 792 F.3d at 1350. The specification

 explains that a “transmitter” sends signals using “conventional wireless communication

 technologies”:

        The sensor 512 triggers the transmitter 514 to establish a wireless communication
        channel between itself and the CRC [(central receiver/controller)] 520. A signal is
        sent by the transmitter 514 to inform the CRC 520 that the diaper is wet. This
        wireless communication channel preferably uses wireless technologies such as
        UWB, Bluetooth, RFID, Spread Spectrum, or other conventional wireless
        communication technologies.

 ’983 Patent at 13:3–9 (emphasis added). The accompanying recital of a “wireless transmission

 channel” in the claims further connotes structure. See ’983 Patent, Cl. 110 (“transmitter configured

 to transmit, through a wireless transmission channel”); see also ’443 Patent, Cl. 1 (same).

        Moreover, Plaintiff submits a technical dictionary definition of “transmitter,” thereby

 reinforcing that the terms “transmitter” and “wireless transmitter” refer to a known class of

 structures. (See Dkt. #119, Ex. 6, Microsoft Computer Dictionary 528 (5th ed. 2002) (“Any circuit

 or electronic device designed to send electrically encoded data to another location.”)). The

 opinions of Defendants’ expert to the contrary are unpersuasive. (See id., Ex. 13, May 6, 2019

 Johnson Decl. at ¶ 148). Finding that “transmitter” and “wireless transmitter” connote structure is




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 consistent with principles articulated by the Federal Circuit prior to the abrogated Lighting World

 decision. See Greenberg, 91 F.3d at 1583 (quoted above).

        Finally, Defendants fail to support their contention that the known structure must be known

 to function in the specific manner set forth in the claims. The analysis of this issue as to the “hub”

 terms, addressed above, applies here as well. See Apex, 325 F.3d at 1373; see also Chrimar, 732

 F. App’x at 884–85; Zeroclick, 891 F.3d at 1008; MTD, 2019 WL 3770828, at *6. Defendants’

 reliance on Danco is unpersuasive for the same reasons set forth regarding the above-addressed

 “hub” terms. See Danco, 2017 WL 4225217, at *7. The Court concludes that Defendants have

 failed to rebut the presumption against means-plus-function treatment. Defendants present no

 alternative proposed constructions. No further construction is necessary.

        The Court therefore hereby construes the disputed “transmitter” and “wireless

 transmitter” terms to have their plain meaning.




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    F. “memory,” “program code that includes instructions executable by said processor,”
    and “program code executable by the processor”


       “wherein the memory is configured to store a unique identifier for the item and
    information related with the household inventory of the item, the information related
   with the household inventory of the item including a purchase requirement of the item”
                                    (’443 Patent, Claim 1)

  Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

  Innovation understands that the only issue with Governed by pre-AIA § 112, para. 6.
  respect to this claim term is defendants’
  contention that it is governed by pre-AIA Function:
  § 112, para. 6. Thus, Innovation’s contention         “store a unique identifier for the item and
  is limited to that issue.                         information related with the household
                                                    inventory of the item, the information related
  Innovation contends that this claim term with the household inventory of the item
  recites sufficiently definite structure to one of including a purchase requirement of the item”
  ordinary skill in the art. Alternatively, if this
  term is governed by pre-AIA § 112, para. 6, the Structure:
  corresponding        structure(s),   act(s),   or     Indefinite under pre-AIA § 112 for failure
  material(s): database (see CRC). The claimed to disclose corresponding structure
  function is: store a unique identifier for the
  item and information related with the
  household inventory of the item.




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    “a memory configured to store program code that includes instructions executable by
                    said processor, said instructions comprising: . . .”
                                  (’443 Patent, Claim 29)

  Plaintiff’s Proposal         Defendants’ Proposed Construction

  Innovation understands       Governed by pre-AIA § 112, para. 6.
  that the only issue with
  respect to this claim term   Function: store program code that includes instructions executable
  is             defendants’   by said processor, said instructions comprising:
  contention that it is            instructions for transmitting, through a wireless transmission
  governed by pre-AIA          channel, an item status signal in connection with an initiation of an
  § 112, para. 6. Thus,        increase of a household inventory of an item, the item status signal
  Innovation’s contention      being transmitted through the wireless transmission channel in a
  is limited to that issue.    local wireless communication network based on an indication of an
                               updated status of the item, information related with the household
  Innovation contends that     inventory of the item being stored in a database, a purchase
  this claim term recites      requirement of the item being included in the information related
  sufficiently      definite   with the household inventory of the item;
  structure to one of              wherein the unique identifier corresponding to the wireless
  ordinary skill in the art.   device is recognized in connection with a successful transmission of
  Alternatively, if this       the item status signal;
  term is governed by pre-         wherein a purchase request for the item is processed to replenish
  AIA § 112, para. 6, the      the household inventory based on recognition of the unique
  corresponding                identifier;
  structure(s), act(s), or         wherein information of a user account is communicated through
  material(s):     memory      a network communication channel to accommodate a processing of
  (see WHUB 804), or           the purchase request for the item, the information of the user account
  sensing module 510.          comprising payment information for the purchase request;
  The claimed function is:         wherein the wireless transmission channel established for the
  store program code that      transmission of the item status signal is separate from the network
  includes     instructions    communication channel;
  executable     by     said       wherein the item is associated with the wireless device; and
  processor.                       wherein the wireless device is designated to transmit the item
                               status signal

                               Structure:
                                   Indefinite under pre-AIA § 112 for failure to disclose
                               corresponding structure




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   “a memory, the memory storing program code executable by the processor to perform
                             operations comprising: . . .”
                                (’918 Patent, Claim 99)

  Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

  Innovation understands that the only issue with Governed by pre-AIA § 112, para. 6.
  respect to this claim term is defendants’
  contention that it is governed by pre-AIA Function: perform operations comprising:
  § 112, para. 6. Thus, Innovation’s contention         receiving,    through      a      wireless
  is limited to that issue.                         communication network, a multimedia signal,
                                                    the multimedia signal comprising a
  Innovation contends that this claim term compressed digital video signal;
  recites sufficiently definite structure to one of     converting the multimedia signal to
  ordinary skill in the art. Alternatively, if this produce a converted multimedia signal for
  term is governed by pre-AIA § 112, para. 6, the production by a destination device; and
  corresponding        structure(s),   act(s),   or     transmitting the converted multimedia
  material(s): memory in MTSCM 1000. The signal to the destination device through a
  claimed function is: storing program code predetermined communication channel in
  executable by the processor to perform conjunction with a navigational command for
  operations.                                       the predetermined communication channel, the
                                                    predetermined     communication       channel
                                                    comprising a high definition digital output
                                                    interface,
                                                        wherein the converting comprises
                                                    decompressing the compressed digital video
                                                    signal to a decompressed signal;
                                                        wherein the converting further comprises
                                                    encoding the decompressed signal to an
                                                    encoded signal for transmission through the
                                                    predetermined communication channel;
                                                        wherein the converted multimedia signal
                                                    comprises the encoded signal; and
                                                        wherein the destination device is a digital
                                                    television

                                                   Structure:
                                                       Indefinite under pre-AIA § 112 for failure
                                                   to disclose corresponding structure


 (Dkt. #111, Ex. 1 at pp. 96–97, 111–13 & 115–17; see Dkt. #119 at p. 28; see also Dkt. #200,

 Ex. F at pp. 12–14; id., Ex. H at pp. 7–10).


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         1. The Parties’ Positions

         Plaintiff argues that “[t]he claimed ‘memory’ is part of well-known classes of structures,”

 and “[t]he claims themselves recite additional structural interconnectivity with other elements of

 the claims.” (Dkt. #119 at pp. 36 & 37). Plaintiff further argues that “[t]he specification also

 describes the structural interconnection that the memory may have in the disclosed embodiments.”

 (Id. at p. 37).

         Defendants respond that the claims “define the ‘program code’ and related ‘instructions’

 solely by the functions they perform.” (Dkt. #131 at p. 37).

         Plaintiff replies that “the claims and patents here describe the operation and objectives of

 the ‘program code,’ and the claims describe how the ‘program code’ interacts with other

 structures.” (Dkt. #144 at p. 14). Plaintiff also submits that “[t]he terms ‘program’ and ‘code’

 have well defined meanings to those of skill in the art.” (Id. at p. 15).

         2. Analysis

         Legal principles regarding 35 U.S.C. § 112, ¶ 6 are set forth above as to the “hub” terms.

 Claim 1 of the ’443 Patent recites, in relevant part (emphasis added):

         1. A system for facilitating electronic communications, the system comprising:
                  a central controller;
                  a memory; and
                  a wireless transmitter configured to transmit, through a wireless
         transmission channel, an item status signal in connection with an initiation of an
         increase of a household inventory of an item, the wireless transmission channel
         being established for transmission of the item status signal in a local wireless
         communication network in response to an indication of an updated status of the
         item;
                  wherein the memory is configured to store a unique identifier for the item
         and information related with the household inventory of the item, the information
         related with the household inventory of the item including a purchase requirement
         of the item; . . . .




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        Plaintiff submits that “memory” has a well-known structural meaning in the relevant art

 (Dkt. #119 at pp. 36–37), and Defendants do not appear to dispute this point. Indeed, Defendants’

 responsive claim construction brief does not appear to address this term. (See Dkt. #131).

        As to the “program code” terms, Defendants argue that “[t]he hard work of devising actual

 solutions to these problems is left to others to figure out using only the generic components

 described in the patent, such as a wireless network interface or a processor, which cannot perform

 these functions without special programming.” (Dkt. #131 at p. 38). Defendants cite Global

 Equity Mgmt. (SA) Pty. Ltd. v. Expedia, Inc., which found that the term “program code for

 configuring said at least one partition of said at least one secondary storage device through a

 secondary storage partitions window” was a means-plus-function term governed by 35 U.S.C. §

 112, ¶ 6. See No. 2:16-CV-95, 2016 WL 7416132, at *27–*29 (E.D. Tex. Dec. 22, 2016)

 (“GEMSA”). GEMSA found that the term there at issue was “defined only by the function that it

 performs,” and “[h]ow the code interacts with other code or structure of the claimed invention is

 not described.” Id., at *29.

        Claim 29 of the ’443 Patent, by contrast, recites (emphasis added):

        29. A wireless device configured to facilitate electronic communications, the
        wireless device comprising:
                a processor;
                a wireless radio chip containing information of a unique identifier
        corresponding to the wireless device;
                a memory configured to store program code that includes instructions
        executable by said processor, said instructions comprising:
                instructions for transmitting, through a wireless transmission channel, an
        item status signal in connection with an initiation of an increase of a household
        inventory of an item, the item status signal being transmitted through the wireless
        transmission channel in a local wireless communication network based on an
        indication of an updated status of the item, information related with the household
        inventory of the item being stored in a database, a purchase requirement of the item
        being included in the information related with the household inventory of the item;
                wherein the unique identifier corresponding to the wireless device is
        recognized in connection with a successful transmission of the item status signal;

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                 wherein a purchase request for the item is processed to replenish the
        household inventory based on recognition of the unique identifier;
                 wherein information of a user account is communicated through a network
        communication channel to accommodate a processing of the purchase request for
        the item, the information of the user account comprising payment information for
        the purchase request;
                 wherein the wireless transmission channel established for the transmission
        of the item status signal is separate from the network communication channel;
                 wherein the item is associated with the wireless device; and
                 wherein the wireless device is designated to transmit the item status signal.

        The claim thus recites substantial detail regarding instructions included in the program

 code, particularly with reference to a database and household inventory. Cf. Linear Tech. Corp.

 v. Impala Linear Corp., 379 F.3d 1311, 1320 (Fed. Cir. 2004) (“when the structure-connoting term

 ‘circuit’ is coupled with a description of the circuit’s operation, sufficient structural meaning

 generally will be conveyed to persons of ordinary skill in the art, and § 112 ¶ 6 presumptively will

 not apply”). Likewise, Claim 99 of the ’918 Patent recites (emphasis added):

        99. A wireless signal conversion apparatus comprising:
                a processor; and a memory, the memory storing program code executable
        by the processor to perform operations comprising:
                receiving, through a wireless communication network, a multimedia signal,
        the multimedia signal comprising a compressed digital video signal;
                converting the multimedia signal to produce a converted multimedia signal
        for production by a destination device; and
                transmitting the converted multimedia signal to the destination device
        through a predetermined communication channel in conjunction with a
        navigational command for the predetermined communication channel, the
        predetermined communication channel comprising a high definition digital output
        interface,
                wherein the converting comprises decompressing the compressed digital
        video signal to a decompressed signal;
                wherein the converting further comprises encoding the decompressed signal
        to an encoded signal for transmission through the predetermined communication
        channel;
                wherein the converted multimedia signal comprises the encoded signal; and
                wherein the destination device is a digital television.

        The claim thus recites substantial detail regarding the operations that the program code

 must be executable to perform, and additional context is provided by the recital that “the

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 destination device is a digital television.” See Zeroclick, 891 F.3d at 1006–09 (finding that “user

 interface code,” considering in the context of the claims at issue, was not a means-plus-function

 term). Although Defendants argue, for example, that these recitals fail to set forth adequate detail

 about how “decompressing” is performed (see Dkt. #131 at p. 38), “the patentee is not required to

 include in the specification information readily understood by practitioners, lest every patent be

 required to be written as a comprehensive tutorial and treatise for the generalist, instead of a

 concise statement for persons in the field.” Verve, LLC v. Crane Cams, Inc., 311 F.3d 1116, 1119

 (Fed. Cir. 2002). The specification provides additional context by disclosing:

        Where the MTSCM 1000 is provided as software, it operates in the context of an
        execution platform. That is, the MTSCM 1000 includes instructions that are stored
        in memory for execution by a processor. Any conventional or to-be-developed
        execution platform may be used. The processor, memory, and related elements
        such as a power supply are well known and need not be described herein to convey
        an understanding of the invention.

 ’918 Patent at 17:30–37.

        Extrinsic dictionary definitions submitted by Plaintiff further support Plaintiff’s position

 that “program code” refers to a known class of structures in the relevant art. (See Dkt. #144,

 Ex. 20, Microsoft Computer Dictionary 424 (5th ed. 2002) (defining “program” as: “A sequence

 of instructions that can be executed by a computer. The term can refer to the original source code

 or to the executable (machine language) version.”); id. at p. 106 (defining “code” as: “Program

 instructions. Source code consists of human-readable statements written by a programmer in a

 programming language. Machine code consists of numerical instructions that the computer can

 recognize and execute and that were converted from source code.”); cf. Personalized Media, 161

 F.3d at 704 (“‘Detector’ is not a generic structural term such as ‘means,’ ‘element,’ or ‘device’;

 nor is it a coined term lacking a clear meaning, such as ‘widget’ or ‘ram-a-fram.’”)).




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         The Court concludes that Defendants have failed to rebut the presumption against means-

 plus-function treatment. Defendants present no alternative proposed constructions. No further

 construction is necessary.13

         The Court accordingly hereby construes the disputed “memory” and “program code”

 terms to have their plain meaning.

      G. “updated status [of the item]” and “updated item status”

  Plaintiff’s Proposed Construction                    Defendants’ Proposed Construction

  “the current condition or amount of an item”         “a detected change in the status” / “a detected
                                                       change in the item status”

 (Dkt. #111, Ex. 1 at p. 2; Dkt. #119 at p. 10; Dkt. #131 at p. 39; see Dkt. #200, Ex. A at p. 1; see

 also id., Ex. B at p. 2 of 6; id., Ex. C at p. 1; id., Ex. D at p. 2). The parties submit that this term

 appears in Claims 22–24, 27, 31, 38, 43, 62–64, 103, 105, 108, 110, 117–119, 123, and 143 of the

 ’983 Patent, Claims 26–30, 33, 111, 112, and 115 of the ’918 Patent, Claims 1, 5, 52, and 60 of

 the ’798 Patent, and Claims 1 and 29 of the ’443 Patent. (Dkt. #200, Ex. A at p. 1; id., Ex. B at p.

 2 of 6; id., Ex. C at p. 1; id., Ex. D at p. 2).

         1. The Parties’ Positions

         Plaintiff argues that “Defendants’ proposed construction – a detected change – would

 eliminate the embodiment in which the DCSM periodically determines and sends the updated

 status to the CRC.” (Dkt. #119 at p. 11).




 13
   At the August 28, 2019 hearing, Defendants cited Altiris, in which the Federal Circuit found, as
 to certain “commands” recited as part of a “means for booting . . .,” “[a]lthough ‘commands’
 represent structure (in the form of software), it is not sufficient structure to perform the entirety of
 the function.” Altiris, Inc. v. Symantec Corp., 318 F.3d 1363, 1376 (Fed. Cir. 2003). Altiris thus
 addressed a term with the word “means” and “the presumption that the claim is a means-plus-
 function claim.” Id. Altiris is therefore unpersuasive here.

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        Defendants respond that “the patent claims, specification, and Judge O’Grady’s prior

 construction of the same term (‘item status’) and a related term (‘updated condition of a

 merchandise’) [in VIS I] all consistently describe an ‘updated’ status as a detected change in

 status.” (Dkt. #131 at p. 39).

        Plaintiff replies by reiterating its opening arguments. (Dkt. #144 at p. 18).

        2. Analysis

        Claim 22 of the ’983 Patent, for example, recites (emphasis added):

        22. A wireless HUB system for managing information communications
        comprising:
               an input interface configured to receive a wireless signal through a wireless
        communication network;
               a decoder; and
               a network interface configured to provide a communication through a
        network communication channel,
               wherein the wireless HUB system is configured to perform a conversion of
        the wireless signal to accommodate production of a corresponding information
        content, the wireless signal comprising a compressed signal, the conversion
        comprising decompressing the compressed signal;
               wherein the decoder is configured to decompress the compressed signal;
               wherein the wireless HUB system is further configured to communicate,
        through the network communication channel, information for managing an item
        status of an item in connection with a short range wireless communication
        regarding an updated status of the item; and
               wherein the network communication channel is separate from a wireless
        channel for the short range wireless communication.

        The parties have also discussed Claim 110 of the ’983 Patent, which recites in relevant part

 (emphasis added): “a transmitter configured to transmit, through a wireless transmission channel,

 a signal in connection with an initiation of a replenishment of an inventory of an item, the signal

 being transmitted through the wireless transmission channel in response to an indication of an

 updated status of the item, the signal comprising information corresponding to a unique identifier

 of the wireless device, information about the inventory of the item being stored in a database, a

 requirement of the item being included in the information about the inventory of the item.”

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        Defendants argue that this “updated status” must reflect a “detected change in the status.”

 No such limitation is evident based on the language of this claim.

        Other claims at issue, however, use the word “updated” with reference to “detection.” See

 Phillips, 415 F.3d at 1314 (“Other claims of the patent in question, both asserted and unasserted,

 can also be valuable sources of enlightenment as to the meaning of a claim term. Because claim

 terms are normally used consistently throughout the patent, the usage of a term in one claim can

 often illuminate the meaning of the same term in other claims.”) (citation omitted). For example,

 Claim 27 of the ’983 Patent recites (emphasis added):

        27. The wireless HUB system of claim 26, wherein the short range wireless
        communication comprises a signal; and wherein the short range wireless
        communication is triggered by a detection of the updated status, the signal
        comprising information corresponding to a unique identifier associated with the
        item.

         Additional claims that are similar in this regard include: ’983 Patent, Claim 117 (“the

 wireless transmission channel being established for transmission of the signal in response to a

 detection of an updated status of the item by the item status sensing device”); ’983 Patent,

 Claim 143 (“a detection of the updated status”); ’443 Patent, Claim 1 (“in response to an indication

 of an updated status of the item”); ’443 Patent, Claim 29 (“the item status signal being transmitted

 through the wireless transmission channel in a local wireless communication network based on an

 indication of an updated status of the item”); ’798 Patent, Claim 5 (“wherein the short range

 wireless communication is triggered by a detection, by a sensor, of the updated status”); ’798

 Patent, Claim 60 (“wherein the short range wireless communication is initiated by a detection of

 the updated status”); and ’918 Patent, Claim 112 (“wherein the short range wireless

 communication is initiated by a detection, by a sensor, of the household item status”).




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        The specification is consistent with interpreting “updated” as involving a change: “When

 the diaper condition changes, such as when it is wet, the DCSM [(diaper condition sensing

 module)] sensor detects the updated condition of the diaper.” ’983 Patent at 14:7–9 (emphasis

 added). This disclosure thus refers to an “updated” condition in the context of “changes.” Id.

 Similarly, the specification discloses that the “DCSM sensor monitors diaper condition” and the

 “DCSM transmitter sends condition update to CRC [(central receiver/controller)] when the diaper

 is determined to be wet.” ’983 Patent at Fig. 7 (elements 702 and 704); see ’443 Patent at 3:5–9

 (“According to still another aspect, the present invention accommodates the delivery of diaper

 status updates through a wireless connection. A sensor detects the condition of the diaper and

 accommodates a status indication when the current indication requires an updated [sic].”).

        Plaintiff cites disclosure that “[t]he CRC may also poll the DCSM after a given period of

 time to ensure that the diaper condition has been updated.” ’983 Patent at 14:27–29 (emphasis

 added). At first blush, this disclosure appears to refer to polling the DCSM to obtain the most

 current status.   This reading is also supported by the extrinsic, general-purpose dictionary

 definition of “update” submitted by Plaintiff, namely “to bring up to date.” (Dkt. #144, Ex. 21,

 Merriam-Webster’s Collegiate Dictionary 1298 (10th ed. 1997)).

        Yet, this disclosure appears as part of the following passage:

        In the situation where there are multiple children/diapers being monitored, the CRC
        provided alert may be to a PC having a display screen with a map of the room(s)
        and the estimated location of the wet diaper. Other CRC provided alerts may
        merely notify additional caregiver(s) as to the status of the diaper, without the
        location, so that the additional caregiver(s) may be apprised of the status. The CRC
        may also poll the DCSM after a given period of time to ensure that the diaper
        condition has been updated. The CRC may be configured with configuration
        settings that allow a caregiver to specify when and how they should be updated.
        For example, if one caregiver is a baby sitter watching the child while the parents
        are out, the parent may configure the CRC not to send an alert to them when the
        diaper is first detected as being wet, but to wait until a certain period of time elapses.
        By contrast, the baby-sitter alert may be provided immediately. If the certain period

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         of time passes and the diaper remains wet, the CRC can then notify the parent about
         the diaper condition, and the parent will realize that the diaper has not been
         changed.

 ’983 Patent at 14:21–40.

         Contrary to Plaintiff’s argument, this disclosure does not refer to “periodically polling” the

 DCSM to determine the current condition of a diaper. (See Dkt. #119 at p. 11). Read in context,

 this disclosure regarding “poll[ing]” refers to whether “the diaper condition has been updated” in

 the context of whether the diaper has been changed.

         Finally, at the August 28, 2019 hearing, Plaintiff expressed concern that referring to

 detection in the construction of the “updated status” terms might improperly be interpreted as

 requiring detection of a change to occur as soon the change occurs. No such immediate detection

 requirement is apparent. Instead, the above-discussed evidence refers to whether a change has

 occurred, not necessarily whether the change has been detected. Other claim language, such as

 recited in above-reproduced Claim 27, recites detecting a change.

         The Court accordingly hereby construes “updated status [of the item]” and “updated

 item status” to mean “a change in [item] status.”14

      H. “item status signal”

  Plaintiff’s Proposed Construction                  Defendants’ Proposed Construction

  “a signal corresponding to a condition or “a signal conveying information regarding the
  amount of an item”                        status of an item”


 14
    Defendants cite the analysis of Judge O’Grady in VIS I construing the term “an updated
 condition of a merchandise” in related patents to mean “a detected change in the condition of an
 item.” (Dkt. #131 at pp. 41–42) (emphasis added). The court in VIS I found: “The patent . . .
 presumes some event that prompts the user alert. It does not contemplate a continuous stream of
 information providing real-time updates to the user. Figure 7 confirms this.” 2017 WL 3599642,
 at *17. To whatever extent the construction of this different term is relevant to the present dispute
 as to “updated item status,” Judge O’Grady’s analysis provides additional persuasive support for
 rejecting Plaintiff’s proposed construction.

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 (Dkt. #111, Ex. 1 at p. 3; Dkt. #119 at p. 15; Dkt. #131 at p. 43; Dkt. #200, Ex. D at p. 3). The

 parties submit that this term appears in Claims 1, 16, and 29 of the ’443 Patent. (Dkt. #144 at

 p. 20; Dkt. #200, Ex. D at p. 3).

        1. The Parties’ Positions

        Plaintiff argues that “all that the claim requires is that the ‘item status signal’ conveys

 information such that the claimed ‘central controller’ can identify the item, provided that there is

 a successful transmission of the item status signal.” (Dkt. #119 at p. 15).

        Defendants respond that “Plaintiff is bound to the [VIS I] previous construction under the

 doctrine of collateral estoppel.” (Dkt. #131 at p. 43).

        Plaintiff replies that “[t]he construction of ‘item status signal’ has to be broad enough to

 encompass the RFID embodiment,” and “Innovation’s arguments are not the same as those made

 in Virginia [in VIS I].” (Dkt. #144 at pp. 20 & 21).

        2. Analysis

        Defendants argue for a finding of collateral estoppel based on Judge O’Grady’s

 construction of “item status signal” in the related ’844 Patent as meaning “a signal conveying

 information regarding the status of an item.” VIS I, 2017 WL 3599642, at *15–*16. The Federal

 Circuit affirmed this construction. Innovation Sciences, No. 2018-1495, 2019 WL 2762976, at *7.

        “Collateral estoppel applies when, in the initial litigation, (1) the issue at stake in the

 pending litigation is the same, (2) the issue was actually litigated, and (3) the determination of the

 issue in the initial litigation was a necessary part of the judgment.” Harvey Specialty & Supply,

 Inc. v. Anson Flowline Equip. Inc., 434 F.3d 320, 323 (5th Cir. 2005); see Dkt. #131 at p. 43 (citing

 Rabo Agrifinance, Inc. v. Terra XXI, Ltd., 583 F.3d 348, 353 (5th Cir. 2009)). The doctrine of




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 collateral estoppel has been applied to claim construction. See, e.g., Nestle USA, Inc. v. Steuben

 Foods, Inc., 884 F.3d 1350, 1352 (Fed. Cir. 2018).

        The ’443 Patent is a continuation of the ’844 Patent that was at issue in VIS I. These patents

 therefore share the same specification. Judge O’Grady considered the specification in VIS I when

 construing “item status signal”:

        Nowhere in the specification or the claims is the “item status signal” used in the
        context of anything other than a change in the condition of a merchandise. For
        example, the “signal” is not used as a proxy for a purchase request or as a user
        identification tool. Instead, the “signal” appears simply to be the vehicle through
        which the information regarding the change in the condition of the merchandise is
        conveyed, and it is consistently used in that context.

 2017 WL 3599642, at *16.

        Yet, the ’844 Patent uses the term “item status signal” in a context different from how the

 term is used in the ’443 Patent. Claim 28 of the ’844 Patent, for example, recites in relevant part

 (emphasis added):

        28. A wireless device configured to facilitate electronic communication of
        information, the wireless device comprising:
               ...
               a memory configured to store program code that includes instructions
        executable by said processor, said instructions comprising:
               instructions for transmitting, through a wireless transmission channel, an
        item status signal to provide information regarding an updated condition of a
        merchandise, . . . .15

 In the present case, by contrast, Claim 1 of the ’443 Patent16 recites (emphasis added):

        1. A system for facilitating electronic communications, the system comprising:
               a central controller;
               a memory; and

 15
    In VIS I, “[a]ll of the independent claims asserted against Amazon provide[d] that the ‘item
 status signal’ is used ‘to provide information regarding an updated condition of a merchandise.’”
 2017 WL 3599642, at *15.
 16
   The other claims identified for this disputed term, namely Claims 16 and 29 of the ’443 Patent,
 depend from Claim 1. (Dkt. #144 at p. 20).

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                 a wireless transmitter configured to transmit, through a wireless
        transmission channel, an item status signal in connection with an initiation of an
        increase of a household inventory of an item, the wireless transmission channel
        being established for transmission of the item status signal in a local wireless
        communication network in response to an indication of an updated status of the
        item;
                 wherein the memory is configured to store a unique identifier for the item
        and information related with the household inventory of the item, the information
        related with the household inventory of the item including a purchase requirement
        of the item;
                 wherein the wireless transmitter is designated to transmit the item status
        signal;
                 wherein the central controller is configured to receive information
        regarding the item status signal and identify the item in connection with a
        successful transmission of the item status signal from the wireless transmitter;
                 wherein the wireless transmitter is associated with the item;
                 wherein the information regarding the item status signal comprises
        information for the unique identifier for the item;
                 wherein the central controller is further configured to identify the item is
        based on recognition of the unique identifier of the item stored in the memory;
                 wherein the central controller is further configured to perform a processing
        of a purchase request for the item to increase the household inventory of the item
        in connection with identification of the item;
                 wherein the central controller is further configured to communicate
        information for the processing of the purchase request through a network
        communication channel to complete the processing of the purchase request, the
        network communication channel being separate from the wireless transmission
        channel established for the transmission of the item status signal;
                 wherein the information for the processing of the purchase request
        comprises a shipping payment information for the purchase request address for the
        item; and
                 wherein the central controller is configured to send confirmation
        information regarding the processing of the purchase request.

        The claim in the present case thus refers to information regarding an item status signal

 rather than information provided by an item status signal. This difference in the contexts is a

 “material difference” such that, at least for purposes of collateral estoppel, the issue in the present

 case is different from the issue in VIS I. Nestle, 884 F.3d at 1352; see e.Digital Corp. v. Futurewei

 Techs., Inc., 772 F.3d 723, 727 (Fed. Cir. 2014) (“a court cannot impose collateral estoppel to bar

 a claim construction dispute solely because the patents are related”). Collateral estoppel therefore



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 does not apply as to the construction of “item status signal.” Likewise, although Federal Circuit

 claim constructions can have a “national stare decisis effect,” 17 the recital of information

 regarding an item status signal (in the present case) differs substantially from the recital of

 information provided by an item status signal (in VIS I and Innovation Sciences).

        The present dispute between the parties reflects this difference. Whereas Defendants

 propose that an “item status signal” must itself convey information, Plaintiff argues that

 information could merely be inferred from the item status signal. In this regard, the specification

 discloses that “[t]he transmitter 514 may use various communication techniques,” and “the

 function may be provided by causing the circuit loop of the RFID tag to transition from open to

 close [sic, closed] when the diaper condition (e.g., wet) is detected by the sensor, which

 automatically causes the ID Tag to be sensed by the tag reader of the CRC.” ’443 Patent at 11:10–

 14. Thus, the specification contemplates that a signal could merely convey an “ID Tag,” and the

 “wet” condition could be inferred from the sensing of the ID Tag.

        Still, in disclosure regarding this same “transmitter 514,” the specification frames this type

 of communication as conveying the status of an item:

        The sensor 512 triggers the transmitter 514 to establish a wireless communication
        channel between itself and the CRC 520. A signal is sent by the transmitter 514 to
        inform the CRC 520 that the diaper is wet. This wireless communication channel
        preferably uses wireless technologies such as UWB, Bluetooth, RFID, Spread
        Spectrum, or other conventional wireless communication technologies.

 ’443 Patent at 10:48–54 (emphasis added).

        Thus, although the findings in VIS I and Innovation Sciences do not give rise to collateral

 estoppel or stare decisis, the Court arrives at a substantially similar conclusion, finding that an



 17
   Ottah v. Fiat Chrysler, 884 F.3d 1135, 1140 (Fed. Cir. 2018) (quoting Key Pharm. v. Hercon
 Labs. Corp., 161 F.3d 709, 716 (Fed. Cir. 1998)).

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 “item status signal” need not itself convey “information” but must relate to the status of an item.

 This is consistent with the discussion in Innovation Sciences noting that the patentee “points to an

 embodiment in the specification in which a DCSM [(diaper condition sensing module)] uses an

 RFID tag to transmit an item status signal,” and “as Amazon points out, ‘[e]ven if the item status

 signal of the patent consists of an RFID ID, it reflects the ‘item status’ of the diaper being

 monitored by that diaper probe sensor.” 2019 WL 2762976, at *7 (citation omitted).

         The Court therefore hereby construes “item status signal” to mean “a signal regarding

 the status of an item.”

      I. “[a/the] short range wireless communication [channel]”

  Plaintiff’s Proposed Construction                  Defendants’ Proposed Construction

  “Zigbee or the equivalent”                         “wireless    communication with  a
                                                     communication range of up to a few
                                                     centimeters”

 (Dkt. #111, Ex. 1 at p. 4; Dkt. #119, Ex. 5 at pp. 3–4; Dkt. #131 at p. 46; Dkt. #200, Ex. A at p. 3;

 id., Ex. B at p. 3 of 6; id., Ex. C at p. 2). The parties submit that this term appears in Claims 22,

 23, 27, 31, 43, 105, 108, 117, and 143 of the ’983 Patent, Claims 26, 27, 29, 30, 33, and 111–114

 of the ’918 Patent, and Claims 1, 5, 6, and 60 of the ’798 Patent. (Dkt. #200, Ex. A at p. 3; id., Ex.

 B at p. 3 of 6; id., Ex. C at p. 2).

         1. The Parties’ Positions

         Plaintiff argues that “[t]he patent specification specifically links the use of ZigBee (or

 Bluetooth) to the relevant working range between the sensors and the central receiver.” (Dkt. #119

 at p. 17).18



 18
   In the parties’ briefing and in the evidence, this term appears as either “ZigBee” or “Zigbee.”
 These capitalizations appear to be used interchangeably.

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        Defendants respond that “[t]he specification emphasizes that the HUB utilizes short range

 communication to authenticate the cellular phone,” and “Zigbee is only described in the

 specification for use as the WPAN secure channel, which the specification expressly distinguishes

 from the short range communication channel used for authentication.” (Dkt. #131 at p. 47).

        Plaintiff replies that its proposal “is based on the patent specification, and is supported by

 relevant extrinsic evidence.” (Dkt. #144 at p. 22).19

        2. Analysis

        Claim 22 of the ’983 Patent, for example, recites (emphasis added):

        22. A wireless HUB system for managing information communications
        comprising:
               an input interface configured to receive a wireless signal through a wireless
        communication network;
               a decoder; and
               a network interface configured to provide a communication through a
        network communication channel,
               wherein the wireless HUB system is configured to perform a conversion of
        the wireless signal to accommodate production of a corresponding information
        content, the wireless signal comprising a compressed signal, the conversion
        comprising decompressing the compressed signal;
               wherein the decoder is configured to decompress the compressed signal;
               wherein the wireless HUB system is further configured to communicate,
        through the network communication channel, information for managing an item
        status of an item in connection with a short range wireless communication
        regarding an updated status of the item; and
               wherein the network communication channel is separate from a wireless
        channel for the short range wireless communication.




 19
    Plaintiff also submits an unrelated patent application publication that refers to “an RF
 transmitter, using well known standards for short range transmission, e.g. less than 100m, such as
 Bluetooth, ZigBee, or cellular phone standards such as GSM, to enable use of SMS.” (Dkt. #119,
 Ex. 12, WO 2004/036521 A2 (sometimes referred to as the “Marshall” reference) at p. 7, ll. 3–17).
 Plaintiff fails to show, however, that this statement demonstrates any well-known technical
 meaning for “short range wireless communication,” let alone that this statement in an unrelated
 patent application is relevant to how the patentee used the term “short range wireless
 communication” in the present patents-in-suit.

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        This claim thus recites using “short range wireless communication” in the context of

 “managing an item status of an item.”

        Defendant notes that the specification refers to “short range of a few centimeters”

 (emphasis added):

        According to another aspect, the present invention facilitates a systematical
        solution for mobile payment (or the communication of other information, as well
        as the receipt of information such as alerts). Preferably, this aspect of the present
        invention implements a cellular network, a wireless personal area network (WPAN)
        and wireless identification technology. Various technologies may be used for these
        components, including but not limited to 3G technology for the cellular network;
        Zigbee, Bluetooth, or UWB technologies for the WPAN; and RFID (e.g., NFC) for
        the wireless identification technology.

        FIG. 3 illustrates an example of a system 300 that implements this aspect of the
        present invention. The system 300 includes a user equipment (e.g., cellular phone,
        PDA, etc.) 310 and wireless HUB 320, which is connected to servers 330 through
        a network 340, such as the Internet.

        ***

        The handset 310 is equipped with a tag that provides a unique identifier that can be
        wirelessly communicated to the WHUB 320. A preferred tag is a Near Field
        Communication (NFC) tag 312. NFC provides short-range wireless connectivity
        that uses magnetic field induction to enable communication between the devices.
        It has a short range of a few centimeters, which is believed to be advantageous for
        applications of this aspect of the present invention. Although NFC is preferred,
        RFID or other substitutes may also be provided. The handset 310 also includes a
        WPAN transceiver 314, which allows additional communication channel between
        the handset and the WHUB 320.

        The wireless WHUB 320 is similarly equipped with an NFC reader 322, a WPAN
        transceiver 324 and a network adaptor 326. The NFC technology accommodates
        secure and automatic authentication and data exchange between the NFC tag and
        NFC reader. According to this aspect of the present invention, the NFC is uniquely
        associated with other information that allows the appropriate action (payment, alert,
        etc.) to take place. For example, where the system is being used to accommodate
        mobile payment, the RFID tag is associated with the user’s bank account. Further,
        once the device is authenticated through the unique identifier, a second secure
        communication channel with more capabilities is established between the handset
        310 and WHUB 320. This allows the action request and related communications
        to be reliably transmitted between the two devices.



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        Accordingly, once the NFC based authentication is accomplished, a secure wireless
        connection between the handset 310 and WHUB 320 is established. This
        communication can implement the WPAN transceiver, which has a higher data rate
        and longer operational range compared to NFC. The secure communication
        allows the exchange of additional information related to the action, such as price
        and credit card information for a purchase request and corresponding payment
        scenario, to be sent between the handset 310 and the WHUB 320. The secure
        communication can be implemented by hardware (e.g., a dedicated hardware
        chipset) and software (e.g., data encryption algorithm).

        The WHUB 320 can also exchange data with other WPAN devices 350. It may be
        useful for the WHUB 320 to communicate with these devices 340 to exchange
        information related to the action. For example, the WHUB 320 may collect water
        usage information from a water meter equipped with the WPAN device 340
        functionality. This data may be stored locally by the WHUB 320, or may be
        transmitted to the appropriate server 330 through the network connection 350. The
        data does not necessarily need to be collected by the WHUB 320 concurrently with
        the user-requested action. For example, the acquisition and transmission of water
        usage information may occur periodically, and separate from the user’s request to
        make a corresponding payment.

 ’983 Patent at 10:17–11:28; see id. at 30:32–36 (the wireless HUB “authenticates user’s

 identification through a short range Electromagnetic (EM) radiation”).

        Thus, in this embodiment, the “short-range wireless connectivity” is distinguished from

 communications that have “longer operational range.”          Id. at 10:45–50 & 11:5–8.      The

 specification explicitly notes that the “short range wireless connection” can be separate:

        FIG. 3 illustrates and provides a system process in accordance with this aspect of
        the invention. In FIG. 3, the secure communication channel is separate from the
        short range wireless connection used to receive the unique identifier in order to
        achieve a greater bandwidth. Alternatively, the authentication and data
        transmission upon the completion of the authentication can share a wireless
        communication channel.

 ’983 Patent at 30:65–31:5 (emphasis added).

        Defendants fail to demonstrate, however, that the above-reproduced disclosure

 characterizing NFC as “short-range wireless connectivity” necessarily corresponds to the recital

 of “short range wireless communication” in the claims. Instead, the above-reproduced claim



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 recites merely that “the network communication channel is separate from a wireless channel for

 the short range wireless communication.” Of particular note, the above-reproduced disclosures

 refer to “3G technology for the cellular network.” See ’983 Patent at 10:17–27. This distinction

 between cellular communication and “short range” communication is also apparent in Figure 29

 of the ’983 Patent, as to which the specification discloses that “mobile terminal B may be in a good

 communication situation with respect to its cellular network” and “mobile terminal B is preferably

 within a short range communication distance with the mobile terminal A” using communication

 techniques “including but not limited to WiFi, Bluetooth, UWB, RFID, Infrared communication,

 etc.” Id. at 37:30–41 (emphasis added).

        Further, the specification discloses “Zigbee/Bluetooth,” which have shorter ranges than 3G

 cellular networks and which the parties agree have a range of greater than a few centimeters (see

 Dkt. #144, Ex. 22 at p. 1 of 2 (AMZ_VIS00012144) (“Range: 50–100 feet”); see also id., Ex. 23

 at p. 1 of 6 (AMZ_VIS00012150) (“Wireless range up to 70m indoors and 400m outdoors”)):

        Each sensor 512 preferably has a unique ID. Multiple access mechanisms, such as
        TDMA, CDMA, FDMA, or other conventional approaches, may also be applied to
        allow the central receiver to communicate with multiple sensors at the same
        resource. It is believed that Zigbee/Bluetooth may be useful for many applications
        in light of the competing demands of working range, data rate and cost.

 ’983 Patent at 13:10–17 (emphasis added). This passage is followed by disclosure that provides

 an example of a type of facility in which a management system could be used:

        In addition to assisting a caregiver with regard to an individual child’s diaper, a
        diaper management system may be configured to manage the diapers for groups of
        children, such as a pre-school class or a day care facility where many children may
        potentially wear diapers. An example of such a system 600 is shown in FIG. 6.

 Id. at 13:47–51. This example of a “pre-school class or a day care facility” suggests that

 communication between a central receiver and multiple sensors would span more than, as

 Defendants have proposed, “a few centimeters.” At the August 28, 2019 hearing, Defendants

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 argued that this particular embodiment is not relevant to the claims at issue for the present disputed

 terms, but Defendants have failed to persuasively demonstrate why this is so.

        This understanding is reinforced by dependent Claims 34 and 35 of the ’983 Patent, which

 recite that the “wireless channel for the short range wireless communication” recited in above-

 reproduced Claim 22 “is a Zigbee channel” or “is a Bluetooth channel”:

        34. The wireless HUB system of claim 33, wherein the wireless channel is a Zigbee
        channel.

        35. The wireless HUB system of claim 33, wherein the wireless channel is a
        Bluetooth channel.

        These claims depend from Claim 33, which depends from Claim 31, which in turn depends

 from Claim 22. The recital of “Bluetooth” in Claim 35 weighs against limiting the disputed term

 to Zigbee because the scope of a dependent claim is presumed to be within the scope of the claim

 from which it depends. See, e.g., AK Steel Corp. v. Sollac & Ugine, 344 F.3d 1234, 1242 (Fed.

 Cir. 2003). Further, Claim 34 weighs against limiting the disputed term to Zigbee because “the

 presence of a dependent claim that adds a particular limitation gives rise to a presumption that the

 limitation in question is not present in the independent claim.” Phillips, 415 F.3d at 1315.

        At the August 28, 2019 hearing, Defendants argued that these dependent Claims 34 and 35

 should be disregarded because these claims lack support in the specification. Defendants cited no

 authority for disregarding these claims.      In general, “dependent claims cannot broaden an

 independent claim from which they depend.” Enzo Biochem Inc. v. Applera Corp., 780 F.3d 1149,

 1156–57 (Fed. Cir. 2015) (“[A]s claim 1 is limited to indirect detection by its own plain meaning,

 it would be inappropriate to use the doctrine of claim differentiation to broaden claim 1 to include

 a limitation imported from a dependent claim, such as direct detection.”). Here, as discussed

 above, neither the independent claims nor the specification defines or limits “short range” as



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 referring to NFC. Instead, using NFC is a specific feature of particular embodiments that should

 not be imported into the claims. See Phillips, 415 F.3d at 1323.

        Plaintiff asserts that “[t]he correct construction of ‘short range wireless communication

 [channel]’ is one that utilizes non-licensed transmitter[s] having limited power output (as required

 by the FCC).”     (Dkt. #119 at p. 19).      Plaintiff fails to adequately support this proposed

 interpretation. Plaintiff cites no such explanation in the specification (see id. at pp. 16–19; see

 also Dkt. #144 at pp. 21–22), and the opinions of Plaintiff’s expert are unpersuasive. (See Dkt.

 #119, Ex. 7, May 23, 2019 McAlexander Decl. at ¶¶ 10–13). In short, Plaintiff fails to justify

 construing “short range wireless communication” in terms of utilizing “non-licensed” transmitters.

        The Court therefore rejects Plaintiff’s proposed construction and Defendants’ proposed

 construction. Nonetheless, “some construction of the disputed claim language will assist the jury

 to understand the claims.” TQP Dev., LLC v. Merrill Lynch & Co., Inc., No. 2:08-CV-471, 2012

 WL 1940849, at *2 (E.D. Tex. May 29, 2012) (Bryson, J., sitting by designation). The Court

 therefore construes “short range wireless communication” to refer to the disclosed technologies,

 as set forth in the disclosure that “[v]arious technologies may be used for these components,

 including but not limited to . . . Zigbee, Bluetooth, or UWB technologies.” See ’983 Patent at

 10:17–27. Because Zigbee, Bluetooth, and UWB are set forth as examples, the construction of the

 seemingly generic term “short range wireless communication” should encompass other

 communication protocols with range similar to Zigbee, Bluetooth, and UWB.20 At the August 28,

 2019 hearing, Plaintiff was amenable to such a construction.


 20
    Although “similar” perhaps lacks absolute precision, “[t]he resolution of some line-drawing
 problems . . . is properly left to the trier of fact.” Acumed LLC v. Stryker Corp., 483 F.3d 800, 806
 (Fed. Cir. 2007) (“[A] sound claim construction need not always purge every shred of ambiguity.”)
 (citing PPG Indus. v. Guardian Indus. Corp., 156 F.3d 1351, 1355 (Fed. Cir. 1998) (“after the
 court has defined the claim with whatever specificity and precision is warranted by the language

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         The Court therefore hereby construes “short range wireless communication” to mean

 “communication using Zigbee, Bluetooth, UWB, or other similarly-ranged communication

 protocols.”

     J. “wherein the short range wireless communication is a Zigbee communication” and
     “wherein the wireless [transmission] channel is a Zigbee channel”


        “wherein the short range wireless communication is a Zigbee communication”
                      (’798 Patent, Claim 6; ’918 Patent, Claims 30, 113)

  Plaintiff’s Proposed Construction                     Defendants’ Proposed Construction

  “a short range wireless communication that is Lacks written description under 35 U.S.C.
  a Zigbee protocol communication”              § 112


                “wherein the wireless [transmission] channel is a Zigbee channel”
                                     (’983 Patent, Claim 39)

  Plaintiff’s Proposed Construction                     Defendants’ Proposed Construction

  “a wireless [transmission] channel that is a Lacks written description under 35 U.S.C.
  channel for communicating ZigBee protocol § 112
  messages”


 (Dkt. #111, Ex. 1 at p. 4; Dkt. #119 at pp. 19–20; Dkt. #131 at p. 49; Dkt. #144 at p. 22; Dkt. #200,

 Ex. A at p. 3; id., Ex. B at p. 5 of 6; id., Ex. C at p. 3).

         1. The Parties’ Positions

         Plaintiff argues that “[b]ecause ZigBee has a well-known meaning in the art as referring to

 a category of communication protocols, this term is not indefinite.” (Dkt. #119 at p. 19).




 of the claim and the evidence bearing on the proper construction, the task of determining whether
 the construed claim reads on the accused product is for the finder of fact”)); see Eon Corp. IP
 Holdings LLC v. Silver Spring Networks, Inc., 815 F.3d 1314, 1318–19 (Fed. Cir. 2016) (citing
 Acumed and PPG).

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        Defendants respond that “Zigbee is mentioned only three times in the specification and for

 two different embodiments, neither of which provides adequate written description for the recently

 amended claims.” (Dkt. #131 at p. 49).

        Plaintiff replies that “written description arguments are not proper claim construction

 arguments.” (Dkt. #144 at p. 22).

        2. Analysis

        Defendant argues that “the Court should hold that these claims lack written description

 under 35 U.S.C. § 112.” (Dkt. #131 at p. 50). In some cases, the extent to which the written

 description supports a proposed construction may be taken into account as part of a claim

 construction analysis. See, e.g., Ruckus Wireless, Inc. v. Innovative Wireless Solutions, LLC, 824

 F.3d 999, 1004 (Fed. Cir. 2016) (“The canon favoring constructions that preserve claim validity

 therefore   counsels   against   construing    ‘communications      path’   to   include   wireless

 communications.”).

        Nonetheless, the Federal Circuit has “certainly not endorsed a regime in which validity

 analysis is a regular component of claim construction.” See Phillips, 415 F.3d at 1327. Indeed,

 “[w]hether a claim satisfies the written description requirement is a question of fact.” See, e.g.,

 Indivior Inc. v. Dr. Reddy’s Labs., S.A., 930 F.3d 1325, 1347 (Fed. Cir. 2019) (citing Ariad Pharm.,

 Inc. v. Eli Lilly & Co., 598 F.3d 1336, 1351 (Fed. Cir. 2010) (en banc)). For purposes of the

 present Claim Construction Memorandum Opinion and Order, the Court hereby rejects

 Defendants’ invalidity argument. Defendants have not presented any proposed claim construction,

 and the Court finds that no construction is necessary.




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        The Court therefore hereby construes “wherein the short range wireless communication

 is a Zigbee communication” and “wherein the wireless [transmission] channel is a Zigbee

 channel” to have their plain meaning.

    K. “merchant information”

  Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

  “purchase information”                            Plain and ordinary meaning. No construction
                                                    necessary.

 (Dkt. #111, Ex. 1 at p. 1; Dkt. #119 at p. 9; Dkt. #131 at p. 50; Dkt. #200, Ex. A at p. 1). The

 parties submit that this term appears in Claim 110 of the ’983 Patent. (Dkt. #131 at p. 50; Dkt.

 #144 at p. 16; Dkt. #200, Ex. A at p. 1).

        1. The Parties’ Positions

        Plaintiff argues that “the specification teaches that merchants may provide purchase-related

 information, such as coupons or other purchase incentive information to users who may be

 interested in purchasing products sold by the merchants,” and “[t]he specification explains that the

 merchants may also be provided with, or already have, the relevant shipping information in

 connection with the purchase request.” (Dkt. #119 at p. 9).

        Defendants respond that “[t]he ’983 patent describes ‘merchant information’ consistent

 with its plain meaning.” (Dkt. #131 at p. 50). Defendants also argue that Plaintiff’s proposed

 construction should be rejected because “[a]lthough ‘merchant information’ may include purchase

 information, it may also be other information, such as which merchants are ‘local,’ and

 advertisements from those local merchants.” (Id. at p. 51).

        Plaintiff replies that “[e]ach example of ‘merchant information’ provided in the

 specification is information that is related to the purchase of items.” (Dkt. #144 at p. 16).




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        2. Analysis

        The specification discusses information provided to and by a merchant, “[f]or example, a

 merchant provided with an indication of local applicability for certain content may wish to make

 advertisements, coupons, or the like available to the users in that domain.” ’983 Patent at 8:49–

 52 (emphasis added). Similarly, regarding an embodiment involving diaper condition updates, the

 specification discloses: “[T]he delivery of locally applicable Internet content may be provided in

 conjunction with the diaper update. Also, a local merchant (and corresponding server) 814 that

 sells diapers is able to present a coupon or other incentive to the user in conjunction with the

 determination that a diaper is wet by the DCSM 812.” Id. at 14:60–66 (emphasis added); see id.

 at 15:3–8 (“information provided by the local merchant”); see also id. at 15:39–44 (“Once the

 authorization is obtained, payment is sent 868 to the Local Merchant server 814 to complete the

 transaction, and the receipt, confirmation and other information may be fed back to the WHUB

 804 regarding the same. For physical product like diapers, the WHUB will have provided (or the

 Local Merchant may already have) the shipping address.”); id. at 25:34–63 (“access to information

 related to the locally applicable Internet content, with commercial incentives such as coupons or

 advertisements being delivered to users”).

        Plaintiff urges that “in the context of the patents-in-suit, ‘merchant information’ is

 information that may be provided to or by a merchant that is related to a purchase request” (Dkt.

 #119 at p. 9), but Claim 110 of the ’983 Patent recites that “the merchant information relevant to

 the replenishment of the inventory of the item is sent to a user of the item” (emphasis added):

        110. A wireless device configured to facilitate electronic communications, the
        wireless device comprising:
                a transmitter configured to transmit, through a wireless transmission
        channel, a signal in connection with an initiation of a replenishment of an inventory
        of an item, the signal being transmitted through the wireless transmission channel
        in response to an indication of an updated status of the item, the signal comprising

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        information corresponding to a unique identifier of the wireless device, information
        about the inventory of the item being stored in a database, a requirement of the item
        being included in the information about the inventory of the item;
                wherein the information corresponding to the unique identifier is
        recognized in connection with a successful transmission of the signal;
                wherein shipping information is communicated through a network
        communication channel to accommodate the replenishment of the inventory;
                wherein the wireless transmission channel established for transmission of
        the signal is separate from the network communication channel; wherein the item
        is associated with the wireless device; wherein the wireless device is designated to
        transmit the signal; and wherein the merchant information relevant to the
        replenishment of the inventory of the item is sent to a user of the item.

        Based on this context provided by surrounding claim language, “merchant information” is

 not necessarily information provided to or by a merchant but rather can be information about a

 merchant.   The specification is consistent with this understanding, referring to “merchant

 information” that might be “cached” prior to an inventory running low:

        Based upon historical activity relating to access of locally applicable Internet
        content, as well as whatever merchant participation is desired in conjunction with
        the system 800, the local merchant’s information is cached 852 at the relevant LCN
        Server(s). A wet diaper is detected 854 by the DCSM 812 and this information is
        transmitted to the WHUB 804. The WHUB 804, managing the diaper inventory
        for the household, determines that the inventory of diapers is low, and thus sends
        856 a purchase alert through the Base Station 808 requesting information related
        to the current need. In response to this, the LCN Server(s) 810 determine that the
        local merchant information is relevant to the current need, and thus retrieve 858
        and send 860 the cached local merchant information to the WHUB 804.

 ’983 Patent at 15:10–23 (emphasis added).

        In sum, Plaintiff fails to support its arguments that “merchant information” must be

 information provided to or by a merchant or must be related to purchases.

        The Court therefore hereby construes “merchant information” to mean “information

 about a merchant.”




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     L. “a requirement of the item”

  Plaintiff’s Proposed Construction                  Defendants’ Proposed Construction

  “a required characteristic of the item”            Plain and ordinary meaning. No construction
                                                     necessary.

 (Dkt. #111, Ex. 1 at p. 1; Dkt. #119 at p. 9; see Dkt. #200, Ex. A at p. 1; id., Ex. D at p. 1). The

 parties submit that this term appears in Claim 110 of the ’983 Patent and Claims 1 and 29 of the

 ’443 Patent. (Dkt. #131 at p. 51; Dkt. #144 at p. 17; see Dkt. #111, Ex. 1 at p. 1; see also Dkt.

 #200, Ex. A at p. 1; id., Ex. D at p. 1).

         1. The Parties’ Positions

         Plaintiff argues that “[t]he surrounding language of claim 110 makes clear that this claim

 term is directed to inventory replenishment of an item.” (Dkt. #119 at p. 9).

         Defendants respond that Plaintiff’s proposed construction should be rejected because

 “[c]hanging the term ‘requirement’ to ‘required characteristic’ only creates ambiguity and suggests

 that the claim term potentially excludes requirements relating to quantity.” (Dkt. #131 at p. 52).

         Plaintiff replies that “the ‘requirement of the item’ recited in the claim is a reference to a

 required characteristic of the item being replenished, such as the item brand, or the size or quantity

 of the item being replenished.” (Dkt. #144 at p. 17).

         2. Analysis

         Claim 110 of the ’983 Patent refers to “a requirement of the item being included in the

 information about the inventory of the item.” Defendants urge that Plaintiff’s proposal of

 “required characteristic” “suggests that the claim term potentially excludes requirements relating

 to quantity.” (Dkt. #131 at p. 52). Plaintiff replies that its proposal of “required characteristic”

 can refer to a quantity of the item being replenished. (Dkt. #144 at p. 17; see Dkt. #119 at pp. 9–

 10).

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        Plaintiff cites disclosure regarding keeping track of diaper inventory and replenishing when

 appropriate:

        For example, the WHUB 804 may monitor the number of diapers detected as being
        used. When the amount of used diapers is close to the amount known to have been
        purchased previously, an additional alert may be presented to the user so that they
        are aware that they need diapers and they can get the discount if they buy brand x
        based upon the information provided by the local merchant.

        The process for providing such functionality may be as follows. Based upon
        historical activity relating to access of locally applicable Internet content, as well
        as whatever merchant participation is desired in conjunction with the system 800,
        the local merchant’s information is cached 852 at the relevant LCN Server(s).
        A wet diaper is detected 854 by the DCSM 812 and this information is transmitted
        to the WHUB 804. The WHUB 804, managing the diaper inventory for the
        household, determines that the inventory of diapers is low, and thus sends 856 a
        purchase alert through the Base Station 808 requesting information related to the
        current need. In response to this, the LCN Server(s) 810 determine that the local
        merchant information is relevant to the current need, and thus retrieve 858 and send
        860 the cached local merchant information to the WHUB 804.

        In conjunction with the above exchange of information, alerts of both the diaper
        condition and the low diaper inventory may be provided and retained for user
        review. When the user is ready to make a purchase, this may be accommodated via
        the WHUB 804.

 ’983 Patent at 15:2–28 (emphasis added).

        Introducing the word “characteristic,” however, would not be readily understood by a

 finder of fact as referring to quantity. Plaintiff’s proposed construction would therefore tend to

 confuse rather than clarify the scope of the claims. Introducing this potential confusion into the

 claims is unwarranted, particularly in light of the substantial agreement between the parties that

 the word “requirement” can refer to quantity. (See Dkt. #119 at pp. 9–10; see also Dkt. #131 at p.

 52; Dkt. #144 at p. 17). The Court therefore hereby expressly rejects Plaintiff’s proposed

 construction. No further construction is necessary. See O2 Micro, 521 F.3d at 1362 (“[D]istrict

 courts are not (and should not be) required to construe every limitation present in a patent’s

 asserted claims.”); see also Finjan, Inc. v. Secure Computing Corp., 626 F.3d 1197, 1207 (Fed.

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 Cir. 2010) (“Unlike O2 Micro, where the court failed to resolve the parties’ quarrel, the district

 court rejected Defendants’ construction.”); Summit 6, LLC v. Samsung Elecs. Co., Ltd., 802 F.3d

 1283, 1291 (Fed. Cir. 2015).

        The Court accordingly hereby construes “a requirement of the item” to have its plain

 meaning.

    M. “an input interface configured to receive a wireless signal through a wireless
    communication network” and “a network interface configured to provide a
    communication through a network communication channel”


         “an input interface configured to receive a wireless signal through a wireless
                                   communication network”
                                  (’983 Patent, Claims 22, 62)

  Plaintiff’s Proposed Construction                Defendants’ Proposed Construction

  Innovation understands that the only issue with Governed by pre-AIA § 112, para. 6.
  respect to this claim term is defendants’
  contention that it is governed by pre-AIA Function:
  § 112, para. 6. Thus, Innovation’s contention      “receive a wireless signal through a
  is limited to that issue.                       wireless communication network”

  Innovation contends that this claim term Structure:
  recites sufficiently definite structure to one of     Indefinite under pre-AIA § 112 for failure
  ordinary skill in the art. Alternatively, if this to disclose corresponding structure
  term is governed by pre-AIA § 112, para. 6, the
  corresponding       structure(s),    act(s),   or
  material(s): input connection/circuitry to a
  module (e.g., mobile terminal interface module
  1002 or interface/buffer module 1102),
  wireless and/or network interface (see CRC),
  network interface card (see MC System), or
  transmitter and/or receiver (see MC System).
  The claimed function is: receive a wireless
  signal through a wireless communication
  network.




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       “a network interface configured to provide a communication through a network
                                   communication channel”
                             (’983 Patent, Claims 22, 62, 117, 128)

  Plaintiff’s Proposed Construction                 Defendants’ Proposed Construction

  Innovation understands that the only issue with Governed by pre-AIA § 112, para. 6.
  respect to this claim term is defendants’
  contention that it is governed by pre-AIA Function:
  § 112, para. 6. Thus, Innovation’s contention      “provide a communication through a
  is limited to that issue.                       network communication channel”

  Innovation contends that this claim term Structure:
  recites sufficiently definite structure to one of     Indefinite under pre-AIA § 112 for failure
  ordinary skill in the art. Alternatively, if this to disclose corresponding structure
  term is governed by pre-AIA § 112, para. 6, the
  corresponding       structure(s),    act(s),   or
  material(s): wireless and/or network interface
  for CRC 520. The claimed function is: provide
  a communication through a network
  communication channel.


 (Dkt. #111, Ex. 1 at pp. 7–9). The parties submit that these terms appear in Claims 22, 62, 117,

 and 128 of the ’983 Patent. (Id.; see Dkt. #119 at p. 26).

        Plaintiff argues that “[t]he claimed ‘input interface’ and ‘network interface’ are part of

 well-known classes of structures.” (Dkt. #119 at p. 26).

        Defendants respond that “Amazon and HTC no longer seek construction of the ‘input

 interface’ and ‘network interface’ ‘configured to’ claim terms.” (Dkt. #131 at p. 37 n.12).

        Plaintiff replies that Defendants did not brief these terms and therefore the Court should

 not apply 35 U.S.C. § 112, ¶ 6. (Dkt. #144 at p. 16).

        These terms are no longer being presented for construction, so the Court does not further

 address these terms.




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    N. “wherein the mobile terminal is configured to transmit the encoded signal to the
    destination device through a predetermined communication channel in conjunction with
    a navigational command for the predetermined communication channel”

        The parties disputed whether this term is governed by 35 U.S.C. § 112, ¶ 6. (Dkt. #111,

 Ex. 1 at pp. 36–37; see Dkt. #200, Ex. F at pp. 9–10). The parties submitted that this term appears

 in Claim 9 of the ’918 Patent. (Id.)

        Plaintiff submits: “Although Defendants identified this as a claim term for construction,

 this claim term does not actually exist. In the Certificate of Correction for the ’918 patent, the

 words ‘mobile terminal’ were replaced with ‘wireless signal conversion apparatus.’ ’918 patent,

 Certificate of Correction. Thus, this non-existent term should not be construed by the Court.”

 (Dkt. #119 at p. 31).

        Defendants’ response brief acknowledges the correction. (See Dkt. #131 at p. 31 n.11; see

 also Dkt. #119, Ex. 2, Oct. 24, 2017 Certificate of Correction (p. 71 of 71 of Ex. 2)).

        Because this term no longer exists, the Court does not further address this term.

    O. Additional Terms

        “Defendants no longer seek a construction that the preambles of all asserted claims are

 limiting.” (Dkt. #131 at p. 52 n.21) (emphasis added). The Court therefore does not address the

 preambles of the asserted claims except as otherwise specifically addressed in the present Claim

 Construction Memorandum Opinion and Order.

        Defendants previously asserted indefiniteness as to the term “particular information

 content” in claims of the ’918 Patent. (Dkt. #111, Ex. 1 at p. 3). Defendants’ response brief does

 not address this term. (See Dkt. #145.) To whatever extent Defendants maintain their assertion of

 indefiniteness, the Court hereby rejects Defendants’ assertion of indefiniteness as unsupported,

 and the Court hereby construes “particular information content” to have its plain meaning.



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                                              CONCLUSION

            The Court adopts the constructions set forth in this opinion for the disputed terms of the

     patents-in-suit. The parties are ordered that they may not refer, directly or indirectly, to each

     other’s claim construction positions in the presence of the jury. Likewise, the parties are ordered
.
     to refrain from mentioning any portion of this opinion, other than the actual definitions adopted by

     the Court, in the presence of the jury. Any reference to claim construction proceedings is limited

     to informing the jury of the definitions adopted by the Court.

          SIGNED this 9th day of September, 2019.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES DISTRICT JUDGE




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